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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DONNA CURLING, et al.

      Plaintiffs,
                                                  CIVIL ACTION
v.
                                                  FILE NO. 1: 17-cv-2989-AT
BRAD RAFFENSPERGER, et al.,

      Defendants.



                    DECLARATION OF CRISTINA CORREIA

      I, Cristina Correia, do hereby declare and state that the following facts are

true and correct to the best of my knowledge, information and belief.

                                          1.

      I am over the age of 21 years and am in all ways competent to give

testimony, suffering no physical or mental disabilities.

                                          2.

      I am a Senior Assistant Attorney General for the Office of Attorney General

Chris Carr.




                                          1
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                                          3.

      I was lead counsel for the Defendants in this action until my office's

withdrawal from representation on November 3, 2017.

                                          4.

      I have read the "Coalition Plaintiffs' Hearing Brief on Evidentiary

Presumption Arising From Spoliation of Evidence." Doc. 548.

                                          5.

       At no time during this litigation have I, or anyone else to my knowledge,

destroyed evidence, directed others to destroy evidence, or supervised the

destruction of evidence. See Doc. 548 at 18-19.

                                          6.

      When this lawsuit was filed on July 3, 2017, it challenged the results of the

June 20, 2017, Sixth Congressional District run-off election. Doc. 1-2.

                                          7.

      Exhibit C to the initial complaint included a memorandum, dated April 18,

201 7, outlining an action plan for a number of IT assets within the Center for

Elections Systems (CES). Doc. 1-2 at 98-102, particularly p. 101, 7.




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                                          8.

      Included in that action plan was a list of IT assets that were recommended

for replacement, including the CES public facing webserver, Dell PowerEdge

R610, and a CES Dell PowerEdge 1950. Doc. 1-2 at 101        ,r 7, items 8 and 9.
                                          9.

      On July 10, 2017, after business hours, I and several other attorneys received

an email from Plaintiffs' counsel with a preservation hold request. The request

sought preservation of "all election materials for the June 20 election." While the

email specifically identifies several items Plaintiffs sought to preserve, there was

no mention of the servers identified in paragraph 8 above. A true and correct copy

of the email is attached as Exhibit 1.

                                          10.

      It was, and still is, my understanding that the two servers described in ,r 8

above had been removed from CES in March, 201 7 and the~efore could not have

had any data relevant to the April and June, 2017 elections.

                                         11.

      On August 18, 201 7, with leave of Court, Plaintiffs filed an Amended

Complaint. Doc. 15. Exhibit D to the Amended Complaint is the same four page




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memo from Kennesaw State University that was included with the initial complaint

and referenced in ,r,r 7-8 above. Doc. 15-1 at 18-22.

                                          12.

      On September 15, 2017, with leave of Court, Plaintiffs filed their Second

Amended Complaint. Doc. 70. The Second Amended Complaint, extends, for the

first time, Plaintiffs' claims to the November, 2016 elections. Doc. 70 at ,r 10.

                                          13.

      On September 26, 201 7, counsel for Fulton County Defendants forwarded to

me an email from Plaintiffs' Counsel, Joe Caldwell, that was dated September 22,

201 7 and that had been sent to various county defense counsel and the Court, but

failed to include any lawyer from the Attorney General's Office. I subsequently

sent an email to all counsel and the court, asking that Plaintiffs' counsel copy me

on all future communications. A true and accurate copy of the email exchange is

attached hereto as Exhibit 2.

                                          14.

       On September 29, 2017, Plaintiffs' counsel sent an email which referred to

a litigation hold letter of September 12, 201 7. I responded to this email advising

Plaintiffs' counsel that I had not received a letter or litigation hold dated September

12, 201 7. A true and accurate copy of this email exchange is attached as Exhibit 3.

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                                           15.

       Subsequent to the email exchange described in ,r 14 above, I inquired of the

other two attorneys from my office listed as an addressee on the September 12,

2017, letter and both advised that they had not received a copy of the letter.

                                           16.

       Subsequent to the email exchange described in ,r 14 above, Plaintiffs'

counsel, Joe Caldwell, forwarded a copy of a September 12, 2017, litigation hold

letter. A copy of the email and letter are attached as Exhibit 4.

                                          17.

      The September 12, 2017 litigation hold letter from Plaintiffs' counsel

requests, for the first time, the preservation of data and equipment used in the

November 2016 elections.

                                          18.

       On October 6, 2017, I sent an email to Plaintiffs' counsel regarding the

Plaintiffs' litigation hold request and explained that:

      the CES server that was the subject of the alleged security lapse in
      March, 2017, was taken offline by Kennesaw State University
      Information Technology Services (UITS) on March 1, 2017, ninety
      minutes after UITS learned that certain information on the server may
      have been vulnerable to non-authorized access. The backup server
      was also taken offline on March 1, 201 7. The FBI was contacted and
      took possession of the server from March 3, 2017 to March 17, 2017,
      and on that date, UITS erased all data on the server and backup server.
                                           5
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      The physical servers were subsequently preserved, but without any of
      the data.

Exhibit 5 attached hereto.

                                        19.

      On or about October 16 or 17, 201 7, I learned that the server that had been

returned by the FBI to Kennesaw UITS on March 17, 2017, was, pursuant to the

UITS action plan, erased on July 7, 2017 and not March 17, 201 7, as I had

previously believed. See Exhibit 10 at 19.

                                        20.

        On or about October 16 or 17, 201 7, I learned that the backup Unicoi

server had been erased and the hard drive removed for surplus on August 9, 2017,

and not March 17, 2017, as I had previously believed.

                                        21.

      On the morning of October 18, 2017, I sent Plaintiffs' counsel, Joe Caldwell

an email advising him of what I had learned. I received a response to my email on

October 19, 2019. A true and accurate copy of my email exchange is attached

hereto as Exhibit 6.

                                        22.

      On October 26, 201 7, I emailed Plaintiffs' counsel and advised that we had

confirmed with the FBI that they still had a copy of the forensic image of the CES
                                         6
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server taken in March 201 7. I indicated to Plaintiffs' counsel that we were

working with the FBI to get a copy of the forensic image and sent counsel a Notice

of Intent to Serve Subpoena. A true and correct copy of my email is attached as

Exhibit 7.

                                          23.

       In response to my email of October 26, 2017, Plaintiffs' counsel sent me an

email with a link to a press report and inquired whether I continued to represent

Kennesaw State University and CES. A true and correct copy of the email is

attached hereto as Exhibit 8.

                                          24.

       On or about October 27, 2019, the Office of the Attorney General

determined that it could not continue to represent the State Defendants in this

action and immediately sought appointment of conflict counsel.

                                         25.

       I did not respond to the email from Plaintiffs' counsel referenced in ,-r 23

above or to any further emails.

                                         26.

      The only actions I took in defense of the litigation after the pecision to

obtain conflict counsel was to obtain each Defendant's consent to file a reply brief


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in support of a pending motion to dismiss, to obtain each Defendant's consent to

withdraw, and to provide conflict counsel with all relevant information and

documents.

                                        27.

       On November 10, 2017, I was copied on an email exchange between

conflict counsel for the State Defendants and Plaintiffs' counsel regarding the non-

issuance of a subpoena to the FBI. Counsel for KSU put Plaintiffs' counsel on

notice that the subpoena had not been issued and provided Plaintiffs' counsel with

the contact information for the FBI agent with knowledge about the status of the

server image in the FBI' s possession. A true and accurate copy of the email

exchange is attached hereto as Exhibit 9.

                                        28.

      On October 20, 201 7, I was copied on an email and Open Records Act

production between Jeff Milsteen, then KSU Chief Legal Affairs Officer, and

Plaintiff Marilyn Marks. A true and accurate copy of that email and some of the

documents provided with the email, are attached hereto as Exhibit 10.




                                            8
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      I declare under penalty of perjury that the foregoing is true and correct.



Executed on this 30th day of July, 2019.



                                               ~ Mtcffi         ~Q
                                               Cristina M. Correia




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                Correia Declaration
                         Exhibit 1
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Cristina Correia

From:                              Bryan Ward <bryan.ward@holcombward.com>
Sent:                              Monday, July 10, 2017 5:32 PM
To:                                Annette Cowart; Russ Willard; Jennifer Colangelo; Cristina Correia; Josiah Heidt;
                                   ovbrantley@dekalbcountyga.gov; LKJohnson@dekalbcountyga.gov;
                                   TGPhilli@dekalbcountyga.gov; BDBryan@dekalbcountyga.gov;
                                   Patrise.Hooker@fultoncountyga.gov; Kaye.Burwell@fultoncountyga.gov;
                                   Cheryl.Ringer@fultoncountyga.gov; David.Lowman@fultoncountyga.gov;
                                   DWhite@hlclaw.com; SHegener@hlclaw.com
Cc:                                Marvin Lim
Subject:                           Curling et al. v. Kemp et al.; No. 2017CV292233
Attachments:                       CURLING v KEMP (2) - COMPLAINT WITH VERIFICATION AND EXHIBITS.PDF



Counsel,

I am counsel for the plaintiffs in the above-referenced matter, Curling et al. v. Kemp et al.; No. 2017CV292233 (the
"Action") (Complaint attached). I am writing you as either the attorney listed online for one of the defendant entities in.
the above-referenced matter or as an attorney for a defendant entity in the now-dismissed Curling et al. v. Kemp et al.,
No. 2017CV290630. The purpose of this email is to notify your clients of their obligation to take reasonable steps to
preserve and retain all hard copies and electronically stored information, as defined by Rule 34 of the Federal Rules of
Civil Procedure, and all other documents and physical evidence relevant to this Action. To fulfill your preservation
obligation, you must take reasonable steps to preserve all hard copy documents, physical evidence, and electronically
stored information relevant to this _Action, including, but not limited to

•        suspending the Defendant entities' data destruction and backup tape recycling policies;
        •        preserving relevant software, including legacy software (unless an exact copy or mirror image is made
        and stored) and hardware that is no longer in service but was in service during the relevant time period;
        •        retaining and preserving necessary information to access, review and reconstruct (if necessary) relevant
        electronic data, including identification codes and passwords, decryption applications, decompression software,
        reconstruction software, network access codes, manuals and user instructions;
•        retaining and preserving all backup tapes or other storage media; and
        •        any other reasonable steps necessary to prevent the destruction, loss, override or modification of
        relevant data either intentionally or inadvertently, such as through implementation of a pre-existing document
        retention policy.

This preservation obligation includes all election materials for the June 20 election, including, in particular, memory
cards (PCMCIA cards) used in that election. In addition, we are available to confer about the retention and security of
the voting machines and GEMS server used in the June 20 and April 18 elections. Until such time, those machines should
not be disturbed, tested, or changed in any way.

The foregoing list is not exhaustive, and you and your clients must preserve all documents, physical evidence, and
information relevant to this Action.

Your clients' failure to preserve relevant data may constitute spoliation of evidence, which may subject your and/or your
clients to sanctions. We trust that you and your clients will preserve for the duration of this Action all relevant hard copy
documents, physical items, and electronically stored information. In the event of a dispute arising out of your failure to
preserve documents, we will rely on this email in court as evidence of our request and additional notice of your and your
clients' preservation obligations.


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We look forward to working with you in this matter. Please contact me if you have any questions.

Bryan M. Ward

          HOLCOMB
          +WARDLLP
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Atlanta, Georgia 30326
404-892-5695 (Direct)
404-601-2803 (Main)
404-393-1554 (Fax)
bryan. ward(a),holcombward.com
www .holcombward.com




                                                          2
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                Correia Declaration
                         Exhibit 2
                Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 14 of 90


Cristina Correia

From:                              Cristina Correia
Sent:                             Tuesday, September 26, 2017 1:44 PM
To:                               jcaldwell@steptoe.com; eschwartz@steptoe.com; Bryan Ward
Cc:                                'Amy_McConochie@gand.uscourts.gov'; 'Ringer, Cheryl'; Burwell, Kaye; Lowman, David;
                                   Bryan, Bennett D; 'Daniel White'; Josiah Heidt; Elizabeth A. Monyak
Subject:                          Curling v. Kemp: litigation hold/release



Mr. Caldwell,

I would appreciate being copied on all of your future communications with the Court and co-Defendants, including
communications regarding the litigation holds. Please note that the GEMS servers are state property housed in the
counties.

CES and the Secretary of State's office will arrange to have backup GEMS servers delivered to Cobb and DeKalb Counties
so that they may keep their current GEMS servers quarantined. I believe that resolves the issue of the GEMS servers and
the litigation hold for Cobb and DeKalb.

We are working with Fulton County to try and resolve some hardware issues to allow them to utilize a backup server as
well. I will keep you and the Court posted on that progress. At a minimum, CES can create a backup image of the Fulton
County GEMS server and maintain that backup per the litigation hold.

Sincerely,
Cris Correia

                      Cristina Correia
                      Assistant Attorney General
                      Office of Attorney General Chris Carr
                      Government Services & Employment
                      Tel: 404-656-7063
                      ccorreia@law.ga.gov
                      Georgia Department of Law
                      40 Capitol Square SW
                      Atlanta, Georgia 30334


From: Ringer, Cheryl [mailto:Cheryl.Ringer@fultoncountyga.gov]
Sent: Tuesday, September 26, 2017 11:37 AM
To: Cristina Correia
Subject: Curling v. Kemp: litigation hold/release

From: Caldwell, Joe fmailto :icaldwell@Steptoe.com ]
Sent: Friday, September 22, 2017 5:40 PM
To: Ringer, Cheryl; Bryan, Bennett D; Amy McConochie@gand .uscourts.gov
Cc: Matt Bernhard; Schwartz, Edward; Burwell, Kaye; Bryan Ward
Subject: Curling v. Kemp: litigation hold/release

Counsel :

By Minute Entry of September 20, 2017, the Court ordered, among other things, that "Plaintiffs will inform Defendants
by Friday, September 22, 2017, re what equipment, if any, it believes needs to remain subject to the litigation hold."

                                                              1
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Plaintiffs specified the equipment initially which needs to remain subject to the litigation hold via its Litigation Hold
confirmation letter of September 12, 2017 (attached). Since Fulton County indicated that it seeks to have 408 DRE's
released for use in the November 2017 election, and DeKalb initially sought an unspecified amount, Plaintiffs further
indicated in its e-mail of September 19, 2017 (attached) which specific DRE machines Plaintiffs are releasing. While
Fulton County requested that Plaintiffs release 408 DRE machines, Plaintiffs have exceeded that amount by releasing
568 DRE's. Further, DeKalb County has since indicated that it no longer seeks release of DREs (attached). In short, it
appears that the issue regarding release of DRE's between the parties has been resolved.

Beyond the DR E's, Fulton and DeKalb Counties both seek the release of their single GEMS servers in both of their
Counties to conduct the November 2017 election. In response, Plaintiffs are willing to release the two GEMS servers,
provided that Defendants will permit Plaintiffs to copy the contents of the servers during the next week. Specifically
Plaintiffs propose to have one of its experts come to the appropriate facility in Fulton and DeKalb Counties on a specified
date next week to copy the content of the GEMS servers in less than one day's time each. The expert could do a backup
of the servers using a laptop and a few external hard drives, and he can do so in the presence of a responsible person
Defendants designate.

Please advise promptly if this proposal is acceptable.

As instructed by Chambers, the Court is copied on this e-mail.

Best,
Joe Caldwell

Joe Robert Caldwell, Jr
Partner
jcaldwell@Steptoe.com
+1 202 429 6455 direct I +1 202 429 3902 fax
Steptoe
Steptoe & Johnson LLP
1330 Connecticut Avenue, NW I Washington, DC 20036
www.steptoe.com

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then delete this message.




Cheryl M. Ringer
Senior Assistant County Attorney
Office of the County Attorney
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Suite 4038
Atlanta, GA 30303
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(404) 612-0263 (Direct)
(404) 703-6540 (Fax)


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                Correia Declaration
                         Exhibit 3
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Cristina Correia

From:                             Cristina Correia
Sent:                             Friday, September 29, 2017 6:18 PM
To:                               'Caldwell, Joe'; Ringer, Cheryl
Cc:                               Bryan, Bennett D (benbryan@dekalbcountyga.gov); Burwell, Kaye; Daniel White
                                  (dwhite@hlclaw.com); Bryan Ward; Matt Bernhard; Schwartz, Edward
Subject:                          RE: Curling v. Kemp: Litigation hold follow-up


Joe,

I have not received a September lih litigation hold letter. Would you please forward that letter to me .

Thanks,
Cris



                      Cristina Correia
                      Assistant Attorney General
                      Office of Attorney General Chris Carr
                      Government Services & Employment
                      Tel: 404-656-7063
                      ccorreia@law.ga.gov
                      Georgia Department of Law
                      40 Capitol Square SW
                      Atlanta, Georgia 30334


From: Caldwell, Joe [mailto:jcaldwell@Steptoe.com]
Sent: Friday, September 29, 2017 5:48 PM
To: Ringer, Cheryl
Cc: Cristina Correia; Bryan, Bennett D (benbryan@dekalbcountyqa .gov); Burwell, Kaye; Daniel White
(dwhite@hlclaw.com); Bryan Ward; Matt Bernhard; Schwartz, Edward
Subject: Curling v. Kemp: Litigation hold follow-up

Counsel,

Plaintiffs' litigation hold letter of September 12, 2017 asks, among other things, that defendants preserve
DRE's and records from the April 2017, June 2017 and the November 2016 elections. Federal and State law
similarly require that electronic voting records be maintained for a period of twenty-two and twenty-four
months, respectively, following an election. See 52 U.S.C. 20701. See also Ga. Code 21-2-500. While each of
you has acknowledged preservation with respect to the April and June 2017 elections, this e-mail seeks
clarification that preservation is similarly being maintained for the November 2016 election.

Fulton County indicated on the September conference call with Judge Toten berg that Plaintiffs' request to
hold electronic equipment and records related to the November 2016 election comes too late. Fulton County
states that it has already begun its logic and accuracy testing of DRE's used in the November 2016 election in
preparation for the November 2017 election. Beyond Plaintiffs' litigation hold letter, that action by Fulton
County appears to violate both federal and state law.


                                                              1
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Accordingly, Plaintiffs ask that Fulton County confirm if any of its electronic voting machines and equipment
have been altered or over-written; and if so, how many? How many DRE's used in the November 2016
election remain unaltered? Plaintiffs ask the same questions of DeKalb and Cobb Counties with respect to any
evidence related to the April and June 2017 elections, as identified in the September 12 litigation hold letter,
and especially the November 2016 elections, as well. If any such equipment related to the hold request has
been altered or destroyed, Plaintiffs ask that defendants cease that action immediately, advise what
equipment was altered, and what equipment remains which has not been altered or destroyed.

Regards,

Joe Caldwell
Partner
Steptoe & Johnson LLP
202 429 6455




                                                       2
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                Correia Declaration
                         Exhibit 4
               Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 21 of 90


Cristina Correia

From:                               Caldwell, Joe <jcaldwell@Steptoe.com>
Sent:                               Friday, September 29, 2017 6:26 PM
To:                                 Cristina Correia; Ringer, Cheryl
Cc:                                 Bryan, Bennett D (benbryan@dekalbcountyga.gov); Burwell, Kaye; Daniel White
                                    (dwhite@hlclaw.com); Bryan Ward; Matt Bernhard; Schwartz, Edward
Subject:                            RE: Curling v. Kemp: Litigation hold follow-up
Attachments:                        17.09.12 - Litigation Hold Letter.docx




Cris, attached hereto.

Joe Caldwell
Partner
Steptoe & Johnson LLP
202 429 6455




From: Cristina Correia [mai lto:ccorreia@law.ga.gov]
Sent: Friday, September 29, 2017 6:18 PM
To: Caldwell, Joe; Ringer, Cheryl
Cc: Bryan, Bennett D (benbryan@dekalbcountyga .gov); Burwell, Kaye; Daniel White (dwhite@hlclaw.com); Bryan Ward;
Matt Bernhard; Schwartz, Edward
Subject: RE: Curling v. Kemp: Litigation hold follow-up

Joe,

                                     th
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Thanks,
Cris



                        Cristina Correia
                        Assistant Attorney General
                        Office of Attorney General Chris Carr
                        Government Services & Employment
                        Tel: 404-656-7063
                        ccorreia@law.ga.gov
                        Georgia Department of Law
                        40 Capitol Square SW
                        Atlanta, Georgia 30334


From: Caldwell, Joe [mailto:jcaldwell@Steptoe.com]
Sent: Friday, September 29, 2017 5:48 PM
To: Ringer, Cheryl
Cc: Cristina Correia; Bryan, Bennett D (benbryan@dekalbcountyga.gov); Burwell, Kaye; Daniel White
(dwhite@hlclaw.com); Bryan Ward; Matt Bernhard; Schwartz, Edward
Subject: Curling v. Kemp: Litigation hold follow-up

                                                                1
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Counsel,

Plaintiffs' litigation hold letter of September 12, 2017 asks, among other things, that defendants preserve
DRE's and records from the April 2017, June 2017 and the November 2016 elections. Federal and State law
similarly require that electronic voting records be maintained for a period of twenty-two and twenty-four
months, respectively, following an election. See 52 U.S.C. 20701. See also Ga. Code 21-2-500. While each of
you has acknowledged preservation with respect to the April and June 2017 elections, this e-mail seeks
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hold electronic equipment and records related to the November 2016 election comes too late. Fulton County
states that it has already begun its logic and accuracy testing of DRE's used in the November 2016 election in
preparation for the November 2017 election. Beyond Plaintiffs' litigation hold letter, that action by Fulton
County appears to violate both federal and state law.

Accordingly, Plaintiffs ask that Fulton County confirm if any of its electronic voting machines and equipment
have been altered or over-written; and if so, how many? How many DRE's used in the November 2016
election remain unaltered? Plaintiffs ask the same questions of DeKalb and Cobb Counties with respect to any
evidence related to the April and June 2017 elections, as identified in the September 12 litigation hold letter,
and especially the November 2016 elections, as well. If any such equipment related to the hold request has
been altered or destroyed, Plaintiffs ask that defendants cease that action immediately, advise what
equipment was altered, and what equipment remains which has not been altered or destroyed.

Regards,

Joe Caldwell
Partner
Steptoe & Johnson LLP
202 429 6455




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                                                                                    SteQtoe
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September 12, 2017

BY ELECTRONIC AND REGULAR MAIL

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BEIJING     BRUSSELS   CHICAGO   LONDON   LOS ANGELES   NEW YORK   PHOENIX   SAN FRANCISCO    WASHINGTON
        Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 24 of 90

                                                                                                Steptoe
                                                                                                STEPTOE & JOHNSON LLP




         Re: Donna Curling, et al. v. Brian P. Kemp, et al., Civil No. 17-cv-02989-AT,                     United
             States District Court for the Northern District of Georgia

Dear Counsel:

         As counsel for Plaintiffs in this action, and following up on our "meet and confer"
conference calls on September 5 and 6, 201 7, this letter is written to request that Defendants take
reasonable steps to preserve all documents and records, including but not limited to all
electronically stored information ("ESI"), that are relevant to the allegations in the pleadings in
this action, or that are reasonably likely to lead to the discovery of admissible evidence.

       Please ensure that Defendants preserve not merely the DRE voting machines, but all
equipment, hard copy documents, and electronic data/information related to the November 2016,
April and June 2017 elections including but not limited to:

         1. DREs (Accuvote TS machines);'

         2. 2 Optical Scanners;

        3. TSx machines (whether used in voting or electronic transmission of voting data);

        4. voter registration records;

         5. poll books and all related electronic and paper data;

        6. 10 voter access cards to be selected by the Plaintiffs from a list of inventory supplied
           by the Defendants;

         7. communications related to the allegations in the Complaint (including, but not limited
            to, requests to recanvas, concerns about the voting system, certification of the voting
            system, and internal, non-privileged communications regarding the same), including
            the planning for the November 2016 general election;

        8. internal or external investigations related to the November 2016, April 2017 and June
           2017 elections (including, but not limited to, any software issues creating problems
           with voter registration, voter records, or voters ability to vote, or location for voting,
           and any forensic review or investigation);

        9. card creators;


        1
           As Defendants are aware, Plaintiffs remain amenaable to releasing voting machines needed for the
November 2017 election after being supplied with an inventory of machines and other equipment needed for their
consideration.

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       Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 25 of 90

                                                                                      Steptoe
                                                                                      STEPTOE & JOHNSON LLP



        10. GEMS databases;

        11. election night reporting records and data (including the Election Night Reporting
            server activity logs);

        12. memory cards for all equipment;
        13. Election Media Processors;

        14. modem transmission network logs;

        15. any external storage device, servers, component, or other technology used to create,
            program, read, store, or transfer any of the above.

         With respect to electronic records, we expect that Defendants have already imposed a
litigation hold to preserve and retain all potentially pertinent ESI within their possession, custody
or control, consistent with their obligations under the Federal Rules of Civil Procedure. For
purposes of this notice, ESI shall include, without limitation, all electronic mail ("email") files
and attachments, backup email files (including backup media, such as Microsoft Exchange server
backup tapes), text files (including word processing documents), data files, program files,
spreadsheets, graphical image files (including .JPG, .GIF, .BMP, .TIFF and .PDF files),
databases, voicemail messages and files, calendar and scheduling information, computer system
activity logs (including network, web, and server logs), external storage devices, servers, or other
technology used to create, program, read, store, or transfer data, and backup tapes. It shall also
include all file fragments, residual and hidden data, deleted files and other electronically
recorded information to the extent that the preservation of such data is reasonably calculated to
lead to the retrieval of any relevant deleted information.

        The duty of good faith which arises from the Federal Rules of Civil Procedure relating to
the discovery of electronically stored information requires Defendants to take all steps necessary
to prevent the loss of any relevant information, even if it is believed not to be reasonably
accessible. Please also note that electronically stored information typically contains relevant,
discoverable information beyond what is apparent to the viewers, e.g., embedded data or
metadata. As a result, Defendants must preserve all electronically stored information in its
original electronic form, even where paper copies might exist. Because electronically stored
information can be easily modified, deleted or otherwise corrupted, Defendants must take all
necessary steps to make sure that all electronically discoverable data is preserved. This
obligation includes the requirement that Defendants confirm that data is not altered or otherwise
destroyed from automatic functions occurring during the routine operation of any electronic
information systems, upgrades or the recycling of computer-related hardware or software. This
preservation requirement includes, but is not limited to, the obligation to suspend any such
operations, upgrades, or recycling features or protocols (including any document or data
destruction policies) pending resolution of potential claims against Defendants.

       We reserve the right to supplement this demand as investigation and discovery proceed.
Of course, if you have any questions regarding any of the foregoing, please.contact me directly.



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      Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 26 of 90

                                                                  Steptoe
                                                                  STEPTOE & JOHNSON LLP




Sincerely,



Joe Robert Caldwell, Jr.




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                Correia Declaration
                         Exhibit 5
                Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 28 of 90


Cristina Correia

From:                               Cristina Correia
Sent:                               Friday, October 06, 2017 5:51 PM
To:                                 'Caldwell, Joe'
Cc:                                 Ringer, Cheryl; Bryan, Bennett D (benbryan@dekalbcountyga.gov); Burwell, Kaye;
                                    Elizabeth A. Monyak; Daniel White (dwhite@hlclaw.com); Bryan Ward; Matt Bernhard;
                                    Schwartz, Edward; Josiah Heidt
Subject:                            RE: Curling v. KemP: Clarification of Litigation Hold regarding CES and Kennesaw State



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preservation of Nov., 2016 election data was only recently received, we are not aware of any data related to that
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While much, although not all, of the election equipment within the custody and control of each Georgia county is
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every DRE machine and GEMS server used, in Nov. 2016, throughout the remaining 156 counties in the State.

Finally, while all data and equipment in the custody of CES has been preserved since the initiation of the litigation, the
CES server that was the subject of the alleged security lapse in March, 2017, was taken offline by Kennesaw State
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backup server. The physical servers were subsequently preserved, but without any of the data.

Please feel free to give me a call if there's anything you would like to discuss.

Best,
Cris




                                                               1
                Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 29 of 90

                        Cristina Correia
                        Assistant Attorney General
                        Office of Attorney General Chris Carr
                        Government Services & Employment
                        Tel: 404-656-7063
                        ccorreia@law.ga.gov
                        Georgia Department of Law
                        40 Capitol Square SW
                        Atlanta, Georgia 30334


From: Caldwell, Joe [mailto:jcaldwell@Steptoe.com]
Sent: Wednesday, October 04, 2017 9:17 AM
To: Cristina Correia
Cc: Ringer, Cheryl; Bryan, Bennett D (benbryan@dekalbcountyga.gov); Burwell, Kaye; Daniel White
(dwhite@hlclaw.com); Bryan Ward; Matt Bernhard; Schwartz, Edward
Subject: Curling v. KemP: Clarification of Litigation Hold regarding CES and Kennesaw State

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Thank you for your clarification .

Best,

Joe



Joe Robert Caldwell, Jr
Partner
jcaldwell@Steptoe.com
+1 202 429 6455 direct I +1 202 429 3902 fax

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                Correia Declaration
                         Exhibit 6
                Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 32 of 90


Cristina Correia

From:                              Caldwell, Joe <jcaldwell@Steptoe.com>
Sent:                              Thursday, October 19, 2017 8:24 AM
To:                                Cristina Correia
Subject:                           RE: Curling v. KemP: Clarification of Litigation Hold regarding CES and Kennesaw State



Thank you, Cris .

Joe Caldwell
Partner
Steptoe & Johnson LLP
202 429 6455




From: Cristina Correia [mailto:ccorreia@law.ga.gov]
Sent: Wednesday, October 18, 2017 10:38 AM
To: Caldwell, Joe
Cc: 'Ringer, Cheryl'; 'Bryan, Bennett D (benbryan@dekalbcountyga.gov)'; 'Burwell, Kaye'; Elizabeth A. Monyak; 'Daniel
White (dwhite@hlclaw.com)'; 'Bryan Ward'; 'Matt Bernhard'; Schwartz, Edward; Josiah Heidt
Subject: RE: Curling v. KemP: Clarification of Litigation Hold regarding CES and Kennesaw State

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the image. The back-up server, which I understand was only a back-up of some of the data on the above referenced
server, was also erased and the hard drive removed for surplus on August 9, 2017.

To be clear, I am not suggesting that either the server or back up had any role at all in the April, 2017 and June, 2017
elections. Both had been removed from CES in March, 2017. But I want to be clear about the dates since you are now
seeking a litigation hold regarding data for the November, 2016 election. The November, 2016 election data that was on
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understanding that the data exists elsewhere at CES. Therefore, I do not believe any data was actually
lost. Nonetheless, I want to be clear about the status of both the server accessed by Logan Lamb and the back-up
server.

Please feel free to contact me if you have any questions.

Best Regards,
Cris




                                                            1
                Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 33 of 90

                         Cristina Correia
                         Assistant Attorney General
                         Office of Attorney General Chris Carr
                         Government Services & Employment
                         Tel: 404-656-7063
                         ccorreia@law.ga.gov
                         Georgia Department of Law
                         40 Capitol Square SW
                         Atlanta, Georgia 30334


From: Cristina Correia
Sent: Friday, October 06, 2017 5:51 PM
To: 'Caldwell, Joe'
Cc: Ringer, Cheryl; Bryan, Bennett D (benbryan@dekalbcountyga .gov); Burwell, Kaye; Elizabeth A. Monyak; Daniel White
(dwhite@hlclaw.com); Bryan Ward; Matt Bernhard; Schwartz, Edward; Josiah Heidt
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                Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 34 of 90

                        Cristina Correia
                        Assistant Attorney General
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                        Government Services & Employment
                        Tel: 404-656-7063
                        ccorreia@law.ga.gov

        11              Georgia Department of Law
                        40 Capitol Square SW
                        Atlanta, Georgia 30334


From: Caldwell, Joe [mailto:jcaldwell@Steptoe.com ]
Sent: Wednesday, October 04, 2017 9: 17 AM
To: Cristina Correia
Cc: Ringer, Cheryl; Bryan, Bennett D (benbryan@dekalbcountyga.gov); Burwell, Kaye; Daniel White
(dwhite@hlclaw.com); Bryan Ward; Matt Bernhard; Schwartz, Edward
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Best,

Joe



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Partner
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                Correia Declaration
                         Exhibit 7
               Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 37 of 90


Cristina Correia

From:                              Cristina Correia
Sent:                              Thursday, October 26, 2017 2:00 PM
To:                                'Caldwell, Joe'
Cc:                                'Ringer, Cheryl'; 'Bryan, Bennett D (benbryan@dekalbcountyga.gov)'; 'Burwell, Kaye';
                                   Elizabeth A. Monyak; 'Daniel White (dwhite@hlclaw.com)'; 'Bryan Ward'; 'Schwartz,
                                   Edward'; Josiah Heidt; 'Jeff Milsteen'
Subject:                           RE: Curling v. KemP: Clarification of Litigation Hold regarding CES and Kennesaw State
Attachments:                       curling subpoena notice_20171026132809.pdf



Joe,

We have learned from the FBI that they do have a copy of the forensic image that they took of the CES server which they
seized last March. Please see the attached Notice of Intent to Serve a Subpoena, which explains that we are seeking a
copy of the forensic image from the FBI and that we intend to store that copy in a secure location at the Office of the
Secretary of State during the pendency of this litigation.

As always, please feel free to contact me should you have any questions.

Best,
Cris


                       Cristina Correia
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                Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 38 of 90
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                Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 39 of 90
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                   Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 40 of 90

Joe Robert Caldwell, Jr
Partner
jcaldwell@Steptoe.com
+1 202 429 6455 direct I +1 202 429 3902 fax

Steptoe
Steptoe & Johnson LLP
1330 Connecticut Avenue, NW I Washington, DC 20036
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      Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 41 of 90




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

DONNA CURLING, et al.,             )
                                   )
       Plaintiffs,                 )            CA No. 1: l 7cv02989-AT
                                   )
v.                                 )
                                   )
BRIAN KEMP, et al.,               )
                                  )
       Defendants.                )



     STATE DEFENDANTS' NOTICE OF INTENT TO SERVE SUBPOENA

       Pursuant to Rule 45(a)(4) of the Federal Rules of Civil Procedure, the State

Defendants hereby notify all parties that they intend to serve a subpoena on the

Atlanta Division of the Federal Bureau of Investigation ("FBI") to obtain a copy of

the forensic image that was made by the FBI of the Kennesaw State University

Center for Election Systems ("CES"s) server in March of 2017. See Exhibit 1

attached hereto.

       Discovery in this case is stayed pursuant to the Court's September 5, 2017

(Doc. 56), and the State Defendants are not engaging in any discovery with respect

to this drive and will not access it unless and until the stay of discovery is lifted (in

the event that the State Defendants' Motion to Dismiss is not granted or only

partially granted). This subpoena is being issued at this time in an attempt to retain

and secure the image in the event it is later needed in this case for purposes of
                                            1
     Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 42 of 90




discovery. The Court's Order staying discovery encourages the parties to take

steps during the stay to facilitate an orderly and prompt resolution of the case.

(Doc. 56).

       The original CES server was wiped on July 7, 2017, prior to service of this

lawsuit on any Defendant in this case; however, given that the FBI took a forensic

image of the server during the 2-week period in March of 2017 when the server

was in the FBI' s possession, it is possible to obtain a copy of the image of that

server as it appeared in March of 2017 when it was in FBI custody. Given that the

FBI has closed its investigation of this matter, the FBI's forensic image was

scheduled for destruction under standard FBI record retention policies and has

been or soon will be wiped. Prior to the scheduled wiping of the original forensic

image, the FBI made a copy of that image, which will be installed on a blank drive

to be provided by the Georgia Secretary of State,s Office to the FBI. This

subpoena will seek production of that copy of the forensic image of the server

taken by the FBI in March of 2017.

      Upon taking possession of the drive with the forensic image copied on to it,

the drive will be secured and taken by representatives at the Secretary of State's

office to a secured storage facility at their Office. It will not be accessed by the

State Defendants (or their counsel) unless and until discovery begins in this case.




                                           2
    Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 43 of 90




      The State Defendants emphasize that by taking these actions, they are not

acknowledging that the server taken by the FBI has any relevance to the Plaintiffs'

claims in this lawsuit regarding the reliability of DREs or the electronic voting

system in Georgia. The image is being obtained and preserved in an abundance of

caution in the event that discovery of the forensic image is later determined to be

relevant and discoverable.

                                       Respectfully submitted,

                                       CHRISTOPHER M. CARR
                                       Attorney General                  112505

                                       ANNETTE M. COWART                191199
                                       Deputy Attorney General

                                       RUSSELL D. WILLARD             760280
                                       Senior Assistant Attorney Genera]



                                       CRISTINA M. CORREIA              188620
                                       Assistant Attorney General

                                       ELIZABETH A. MONYAK              005745
                                       Assistant Attorney General

                                       JOSIAH B. HEIDT                  104183
                                       Assistant Attorney General

                                       Georgia Department of Law
                                       40 Capitol Square SW
                                       Atlanta, GA 30334
                                       404-656-7063

                                       Attorneys for State Defendants
                                         3
    Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 44 of 90




Please address all
Communication to:
CRISTINA CORREIA
Assistant Attorney General
40 Capitol Square SW
Atlanta, GA 30334
ccorreia@law.ga.gov
404-656-7063
404-651-9325




                                   4
    Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 45 of 90




                          CERTIFICATE OF SERVICE

      I hereby certify that on this date I have e-mailed and mailed by U.S. mail,

U.S. postage prepaid, a copy of the foregoing Notice, addressed to the following:

Bryan Ward                                     Joe Caldwell, Jr.
Marvin Lim                                     Edward Schwartz
Holcomb+ Ward LLP                              Steptoe & Johnson-DC
3399 Peachtree Rd NE, Suite 400                1330 Connecticut Avenue, N.W.
Atlanta, GA 30326                              Washington, DC 20036-1795
Bryan. Ward@holcombward.com
Marvin@holcombward.com

Overtis Hicks Brantley
Bennett D. Bryan
DeKalb County Law Department
1300 Commerce Drive 5th Floor
Decatur, GA 30030

Patrise M. Perk.ins-Hooker
Kaye Burwell
Chery1 Ringer
Fulton County Attorney's Office
141 Pryor Street SW Suite 4038
Atlanta, GA 30303
Facsimile: (404) 730-6324

Daniel W. White
Haynie, Litchfield, Crane & White, PC
222 Washington Avenue
Marietta, Georgia 30060


      This 26th day of October, 2017.


                           (Lei li°v1 c~ CClJ•J.AlU C:
                           Assistant Attorney General


                                        5
Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 46 of 90




                       EXHIBIT 1
          Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 47 of 90




.,0 88B (Rev. 02/14) Subpoena to Produce Documents, lnfonnation, or Objects or to Permit Inspection of Premises in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                           for the
                                                            Northern District of Georgia

                      Donna Curling, et al.
                                                                               )
                                 l'laintiff                                    )
                               V.                                              )        Civil Action No.         1:17--<:v-2989-AT
                       Brian Kemp, et al.                                      )
                                                                               )
                                                                               )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                                  Kristy Green
                                                        Chief Divsion Counsel, FBI, Atlanta Office
                                                         (Name ofperson lo whom this subpoena is directed)

    ~ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects and to permit inspection, copying, testing, or sampling of the
material: copy of forensic image that was made by the FBI of the Center for Elections Systems' election server in March
          of 2017 following FBI taking possession of that server (a Dell Power Edge R610 with DNS name elections.
          kennesaw.edu)

 Place: FBI, Atlanta Division                                                            Date and Time:
        3000 Flowers Road South                                                           /11\.,. ~ ...,~,, "juc,i,lt h~ ·w                  pl'Ue,
        Atlanta, Georgia 30341

     l:J Inspection ofPremises: YOU ARE COMMANDED to pennit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                 Date and Time:




       The following provisions of Fed. R. Civ. P. 45 are attached- Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:     IO I2,, / 2,cl 11
                                    CLERK OF COURT
                                                                                            OR

                                              Signature of Clerk or Deputy Clerk                                      Attorney's signature


The name, address, e-mail address, and telephone number of the attorney representing (name ofparty) Brian Kemp, Center
for ElecUons Svstems. Merle King, CES, SEB, and SEB members                                       , who issues or requests this subpoena, arc:
Elizabeth A. Monyak, 40 Capitol Square, SW, Atlanta, Georgia 30334; emonyak@law.ga.gov: 404---463-3630
                           ''\
                            Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice nnd a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 48 of 90




AO 888 (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1 :17-cv-2989-AT

                                                       PROOF OF SERVICE
                      (This section shoulr/ not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if an;~
on (date)

            □   I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            □   I returned the subpoena unexecuted because:


            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            $


My fees are$                                      for travel and $                              for services, for a total of$                 0.00
                                                                        -------

            I declare under penalty of perjury that this infonnation is true.


Date:
                                                                                                   Server's signature



                                                                                                 Printed name and title




                                                                                                    Server 's address


Additional infonnation regarding attempted service, etc.:
               Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 49 of 90




AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                              (ii) disclosing an unretained expert's opinion or information that does
                                                                                 not describe specific occurrences in dispute and results from the expert's
  (I) For a Trial, He11ri11g, nr Deposition. A ubpocna may command a             study that was not n:qucstcd by a party.
person to aucnd n trial. hcnring. or deposition only 11s follows:                   (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles ofwhcre lhc person resides. is employed, or              described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                       modifying a subpoena, order appearance or production under specified
   (B) within the stale where lhc person resides, is employed, or regularly      conditions if the seiving party:
transacts business in person. if the person                                           {i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party' s officer; or                                   otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial             (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                 (e) Duties in Responding to a Subpoena.
  (2) For Other Di.rcm•l!rJI. i\ subpoena mny command:
   (A) production of<.locumcnts, electronically stored infom1a1ion, or             (1) Producing Documents or Electro11icof/y Stored /11form11.1io11. These
tangible things at a place within I00 miles of where the person resides, is      procedures apply to producing documents or electronically stored
employed. or regularly Lrru1sac1s business in person: and                        infom1ation:
   (B) inspection of premises m the premises to bc inspected.                       (A) Docw11e111s. A purson responding 10 a subpoena 10 produce documents
                                                                                 mwa 1>roducc them as they arc kepi in the ordinary course ofbusi1111 or
(d) Prolccling a Person Subject to a Subpoena; Enforcement.                      mll!it orga.ni1.c nnd lnbcl 1hom to correspond to the cmcgoncs in the dcmnnd
                                                                                    ( B) Form fnr Prorl11cmg F.lcClromcally Srored Information Not Specified.
  (I) 1h-oifli11g Um/111! IJ1m1"11 or Expense; S1mclio11s. A pany or auomey      If o subpocnn <locs not specify a fonn for producing elcclronically s1ore<.I
responsible for issuing nnd serving a subpoena must t:tke reasonable ~tcps       i11fom1a1ion. the person rc.~ponding mus1 produce it m a fom1 or fom1 in
I avoid imposing undue burden or expense on a person subject 10 the              which i1 is ordinaril nmin1nincd or in ,1 rcasonablv usable form or fom1s.
subpocnn. 111c court fbr the dis1rict where compliam:e is required must             (C) £/.:c1ro11lcally Stored /11Jom1atlo11 {Jroduccil in Only Onl! Form. ·111c
enforce this du ty 11.nd Impose an nppropr'intc sanction-which may include       person responding need not produce the amc ckctronically stored
lost caming.~ and reasonable nuomcy·s fcc.~-on :i pnny or nuorncy who            infomiation in more than one fom1.
fails to comply.                                                                    (D) l11accessiblc E/1:crronicall;•. 1ored /11for111a11011. The person
                                                                                 responding n~cd not provide discovery or clcc1ronically stored infonnouon
 (2) Commmul to Produce Material.r or Permit Inspection.                         from sources that the person idcn1j lies a~ 1101 rcasonnhly accessible been use
   (A) llppearancc Nor Rc<q11ir11d A person co1111nandccl 10 produce             of undue burden or cos1. On motion 10 compul discover)• or for a pr 1cetivc
documents, cloctronically stored information. or mngibte things, or 10           order, 1hc pcrsoJl responding must show 1ho11hc infommtion i • 1101
permit the inspection of premises. need no1 uppenr in person ot the place of     reasonably accessible because or undue burden or cost If1.hn1 showing is
production or in. pection unless also commanded 10 apf)\!:tr for a deposition,   mndc, the coun may nonetheless order discovery from such ~ourccs if the
hearing, or trinl.                                                               requesting party shows good cause, consider mg the limitations of Rule
   (ll) Ob.1cct10ns. A person commanded to protluce docu111c111s or tnngiblc     26(b)(2)(C). The court may specify condi1ions for lhe discovery.
tJ1ings or 10 pcm1i1 inspection may serve on lhe party or :morncy dcsignmed
in the subpo~n.1 :i wriltcn objection 10 inspecting copying, testing. or         (2) Clnl111i11g Pril•ill!ge or Protect/011.
sampling any or nil of the mntcrials or to inspecting the premises-or 10           (A) /11/ormat/011 Wllhlicld. A person withholding subpoenaed information
producing clectronicnlly storud infom1mio11 in 1he fom1 or fom1s- requested      under o claim thaL ii i · privileged or subject to protection as lrinl•prcpnration
The objection must be served before the earlier of the time sp~-eificd for       material must:
  ompliancc or 14 dRys after !he subpoena. i. served. If an objection i mndc.         (I) c~pn:S:;ly mnke lhc clttim: and
the following rules apply:                                                            (ii) describe the n:1111rc or the withheld documents, comnmnicntions. or
      (i) Al any l me. on notice to the commanded person, the serving party      1n.ngiblc th ings in, mnnncrthnt, \\~tJ10111 revealing infomrntion Itself
may move the court for the district where compliance is required for an          pr ivilcgcd or pro1cc1cd, will c:noblc the pnrtie~ t assess 1hc claim.
order compcll ing prnduction or inspcc1ic,n.                                       (D) b,fon11arfo11 Produced. lfinfom1a.tion produced in n:sponsc 10 a
      (ii) ll1csc uc~ may beicquired only as directed in 1hc order, and the      subpoena is s11bjcc1 10 n claim of privilege or of protection ns
order must protect a person who is neither~ party nor a pany's oflicer from      uinl•prcparnuon mmcriol, the per.;on making the cloim m,,y 1101ify any part
signilica.nt expense resulting. from complia.nce                                 that rcecive<.I the infom101i n of the clnim und the bnsis for il. Aflor being
                                                                                 notilied, a party must promptly return, sequester, or dcslrl)y the specified
 (J) Quashiflg or Motllfying a S11bpo,ma.                                        information and any copies it hns: must not use or disc'Iosc the information
   (A) When R!!q11fred. On timely molion, the court for the district where       until the cluim is resolved: must lake rciL~onnblc steps lo retrieve the
compliance is required tn11s1 quash or modify a subpoena that:                   infom1a1ion if the party disclose<.! ii before being notified; ancl may promptly
     (i) fails 10 a.How a l'casonablc time to comply;                            present tJ1c infomiation under seal 10 the co1111 for the dis1ric1, here
     (ii) requires a person 10 comply beyond the geographical limiL~             cornplian.:c is required ror n <.le1cm1inntio11 of the claim, The person who
specified in Rul.e 45( c);                                                       produced the infom1ftlion must preserve 1hc infom1a1ion until the claim is
     (iii) requires disclosure ofprivikged or other protected matter, ifno       resolved.
exception or waiver applies: or
     (iv) subjects u pcrson 10 undue burden.                                     (g) Cou lcmpl.
  (D) WI, n Permlued To protect n person subject to or arrcc1cd by n             The coun for the district where compliance is rcquired--and also, ailer a
subpo(!nu, the coun for Ille district where cornpltnncc is required m:,y. on     motion is transferred, the issuing court-may hold in contempt a person
motion, qua.~h or modif)' 1hc subpoen3 il'it requires:                           who, having been served, fails without adequate excuse to ohey the
      (i) disclosing a tra<.lc secret or othc:r conlidc111ial research,          subpoena or an order related to it.
development, or commercial infomiation; or



                                        For access to subpoena materials, see Fed R Civ. P. 45(n) Committee Note (2013)
Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 50 of 90




                Correia Declaration
                         Exhibit 8
                 Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 51 of 90


Cristina Correia

From:                              Caldwell, Joe <jcaldwell@Steptoe.com>
Sent:                              Thursday, October 26, 2017 5:06 PM
To:                                Cristina Correia
Cc:                                'Ringer, Cheryl'; 'Bryan, Bennett D (benbryan@dekalbcountyga.gov)'; 'Burwell, Kaye';
                                   Elizabeth A. Monyak; 'Daniel White (dwhite@hlclaw.com)'; 'Bryan Ward'; Schwartz,
                                   Edward; Josiah Heidt
Subject:                           RE: Curling v. KemP: Clarification of Litigation Hold regarding CES and Kennesaw State



Cris,

In light of press reports like the following, http://www.myajc.com/news/state--regional-govt--politics/kemp-
starts-pro be-after-data-georgia-election-computer-de troyed/YbX 60 77 yF q gEdq CCv B 987 0 /
Plaintiffs ask:
     •   Does the State Attorney General's Office continue to represent Kennesaw State University and CES?
     •   Is the equipment at issue in this litigation in the possession, custody and control of the State of
           Georgia?
       •   If not, please advise so that Plaintiffs can ensure that the litigation hold includes all entities of the
           University System of Georgia and its constituent schools, including KSU (and CES) and Georgia Tech, to
           the extent that they hold any election system machines, equipment, servers, data, images or other
           evidence.
       •   If the November 2016 election data on the CES server accessed by Logan Lamb "exists elsewhere in
           CES" or elsewhere, has the State taken custody to ensure that such data and/or related images are
           preserved?
       •   Please explain how the server and backup at issue had, as you say below, no role at all in the April 2017
           and June 2017 elections.

Thank you for your attention to this request.

Joe Caldwell
Partner
Steptoe & Johnson LLP
202 429 6455




From: Cristina Correia [mailto:ccorreia@law.ga.gov]
Sent: Wednesday, October 18, 2017 10:38 AM
To: Caldwell, Joe
Cc: 'Ringer, Cheryl'; 'Bryan, Bennett D (benbryan@dekalbcountyga.gov)'; 'Burwell, Kaye'; Elizabeth A. Monyak; 'Daniel
White (dwhite@hlclaw.com)'; 'Bryan Ward'; 'Matt Bernhard'; Schwartz, Edward; Josiah Heidt
Subject: RE: Curling v. KemP: Clarification of Litigation Hold regarding CES and Kennesaw State

Joe,

We have learned this week that we were mistaken about the dates of when the CES server that was accessed by Logan
Lamb, and the subject of the FBI investigation, was erased. I had mentioned in my earlier email that it was erased upon
return from the FBI in March, 2017, but I have now learned it was erased on July 7, 2017. I have also learned that the
server was imaged by the FBI in March, 2017, and we are reaching out to the FBI to determine whether they still have

                                                            1
                Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 52 of 90
the image. The back-up server, which I understand was only a back-up of some of the data on the above referenced
server, was also erased and the hard drive removed for surplus on August 9, 2017.

To be clear, I am not suggesting that either the server or back up had any role at all in the April, 2017 and June, 2017
elections. Both had been removed from CES in March, 2017. But I want to be clear about the dates since you are now
seeking a litigation hold regarding data for the November, 2016 election. The November, 2016 election data that was on
the CES server accessed by Logan Lamb was there for the county election officials to download, but it is my
understanding that the data exists elsewhere at CES. Therefore, I do not believe any data was actually
lost. Nonetheless, I want to be clear about the status of both the server accessed by Logan Lamb and the back-up
server.

Please feel free to contact me if you have any questions.

Best Regards,
Cris


                       Cristina Correia
                       Assistant Attorney General
                       Office of Attorney General Chris Carr
                       Government Services & Employment
                       Tel: 404-656-7063
                       ccorreia@law.ga.gov
                       Georgia Department of Law
                       40 Capitol Square SW
                       Atlanta, Georgia 30334


From: Cristina Correia
Sent: Friday, October 06, 2017 5:51 PM
To: 'Caldwell, Joe'
Cc: Ringer, Cheryl; Bryan, Bennett D (benbryan@dekafbcountyga.gov); Burwell, Kaye; Elizabeth A. Monyak; Daniel White
(dwhite@hlclaw.com); Bryan Ward; Matt Bernhard; Schwartz, Edward; Josiah Heidt
Subject: RE: Curling v. KemP: Clarification of Litigation Hold regarding CES and Kennesaw State

Joe,

Thank you for your email. I apologize for the delay in my response .

I received your letter, dated Sept. 12, 2017, via email on Sept. 29th. As I mentioned in my email that same day, neither
Josiah Heidt or Elizabeth Monyak in my office had received a copy of the letter either. Your letter raises for the first
time, a suggestion that equipment utilized in the Nov. 2016 election is relevant to Plaintiffs' claims. That election was
not part of Plaintiffs' first two complaints, although I realize that you did include references to the Nov. 2016 election in
Plaintiffs' Second Amended Complaint, filed the evening of Friday, September 15th .

All data and equipment housed at CES related to these three prior elections is being preserved. While your request for
preservation of Nov., 2016 election data was only recently received, we are not aware of any data related to that
election that has not been preserved.

While much, although not all, of the election equipment within the custody and control of each Georgia county is
property of the State, the counties remain responsible for that equipment. All three counties involved in this litigation
have acknowledged the litigation hold. I do not read your letter as requesting a hold of DRE equipment used outside of
the three counties involved in this lawsuit. Obviously, elections for April and June, 2017 were limited to Cobb, DeKalb
and Fulton. I do not interpret the addition of the Nov. 2016 elections in your most recent litigation hold letter to also

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               Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 53 of 90
broaden the scope of the geographical area included within that hold. In other words, we have not sought to quarantine
every DRE machine and GEMS server used, in Nov. 2016, throughout the remaining 156 counties in the State.

Finally, while all data and equipment in the custody of CES has been preserved since the initiation of the litigation, the
CES server that was the subject of the alleged security lapse in March, 2017, was taken offline by Kennesaw State
University Information Technology Services (UITS) on March 1, 2017, ninety minutes after UITS learned that certain
information on the server may have been vulnerable to non-authorized access. The backup server was also taken offline
on March 1, 2017. The FBI was contacted and took possession of the server from March 3, 2017 to March 17,
2017. UITS retook custody of the server on March 17, 2017, and on that date, UITS erased all data on the server and
backup server. The physical servers were subsequently preserved, but without any of the data.

Please feel free to give me a call if there's anything you would like to discuss.

Best,
Cris


                       Cristina Correia
                       Assistant Attorney General
                       Office of Attorney General Chris Carr
                       Government Services & Employment
                       Tel: 404-656-7063
                       ccorreia@law.ga.gov
                       Georgia Department of Law
                       40 Capitol Square SW
                       Atlanta, Georgia 30334


From: Caldwell, Joe [mailto:jcaldwell@Steptoe.com]
Sent: Wednesday, October 04, 2017 9:17 AM
To: Cristina Correia
Cc: Ringer, Cheryl; Bryan, Bennett D (benbryan@dekalbcountyga.gov); Burwell, Kaye; Daniel White
(dwhite@hlclaw.com); Bryan Ward; Matt Bernhard; Schwartz, Edward
Subject: Curling v. KemP: Clarification of Litigation Hold regarding CES and Kennesaw State

Cris,

Your e-mail of September 26, 2017 said, among other things, that the GEMS servers in the possession of Fulton, DeKalb
and Cobb Counties are the property of the State of Georgia, though housed in the respective Counties. Your email
further noted that the GEMS servers in DeKalb and Cobb Counties would be preserved, and that a backup image would
be made for the Fulton County GEMS server. Plaintiffs wish to ensure that any servers utilized by the Secretary of State
("SoS") and/or the Center for Election Systems ("CES") at Kennesaw University in connection with the April and June
2017, and November 2016 elections, and attendant records, are similarly preserved.

Accordingly, Plaintiffs ask:
   • Whether the electronic voting equipment and records used in those elections belong to Sos or to CES?
   • Whether the electronic equipment and records have been preserved intact, or whether any have been over-
        written or altered in any way?
   •    If any of the equipment and/or records have been overwritten or altered, what specifically has been altered and
        how; and what remains unaltered?
   • Whether CES and Kennesaw University are complying with Plaintiffs' litigation hold letter of September 12,
        2017, along with federal and state statutory provisions cited in my e-mail of September 29, 2017, or whether
        they take a different position?


                                                               3
                   Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 54 of 90
Thank you for your clarification .

Best,

Joe



Joe Robert Caldwell, Jr
Partner
jcaldwell@Steptoe.com
+1 202 429 6455 direct I +1 202 429 3902 fax

Steptoe
Steptoe & Johnson LLP
1330 Connecticut Avenue, NW I Washington, DC 20036
www.steptoe.com

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                Correia Declaration
                         Exhibit 9
               Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 56 of 90


Cristina Correia

From:                               Grant.Schnell@hklaw.com
Sent:                               Friday, November 10, 2017 12:03 PM
To:                                jcaldwell@Steptoe.com; john@barneslawgroup.com
Cc:                                 gwashington@Steptoe.com; dwhite@hlclaw.com; Kaye.Burwell@fultoncountyga.gov;
                                    benbryan@dekalbcountyga.gov; bryan.ward@holcombward.com; Cristina Correia;
                                    Cheryl.Ringer@fultoncountyga.gov; eschwartz@steptoe.com; scott@holcombward.com;
                                    roy@barneslawgroup.com; aaron@holcombward.com;
                                   david.lowman@fultoncountyga.gov; Josiah Heidt; marvin@holcombward.com;
                                    robert.highsmith@hklaw.com; tgphilli@dekalbcountyga.gov;
                                   lkjohnson@dekalbcountyga.gov; vernstes@dekalbcountyga.gov
Subject:                            RE: 17-0167 Curling, et al v. Kemp, et al: Curling v. Kemp: Draft Preservation Order.docx



Thanks for looping me in, John.

Joe -- in response to a few of your inquiries below:

        c.     Plaintiffs ask that you please advise whether the State Defendants currently have in their possession
        the forensic image from the FBI sought by their subpoena.

        As I understand it, the State only issued an intent to serve subpoena and not an actual subpoena (as discovery in
        the case was stayed). Therefore, the State Defendants would not have received anything from the FBI in
        response.

        d.    I am happy to provide the FBI a copy of the draft Preservation Order if you would kindly provide the
        name and contact information of the FBI Agent with whom the State AG has been communicating.

        Kristy Green
        Chief Division Counsel
        FBI Atlanta
        Office: 770-216-3154

In response to the other points raised, I echo most of John's thoughts. It seems to me (and I think we all agree on this
point per your e-mail below) that the purpose of the Court scheduling the Tuesday phone conference call was to ensure
that evidence as it exists today is preserved in accordance with the preservation obligations imposed on all counsel and
parties. Therefore, there is simply no need to recite any kind of history of who told who what and when (particularly in
the light it is cast in the current draft order) . To be clear, we 100% intend to comply the preservation obligations
imposed by the law, and have no intention of acting inconsistent with those obligations. Thus, anything "backward
looking" is more appropriately resolved through a motion for spoliation and we would suggest removal of all such
language.

Regarding the FBI, we have no objection that any Consent Order ultimately agreed to is sent to them. But the FBl's
preservation obligations, if they have any, are not one and the same with our client. If the FBI has possession of
information that we are not in control of we cannot be responsible for it. It seems the proper course for plaintiffs is to
issue a litigation hold letter to the FBI if they believe they may be in possession of potentially relevant information or
evidence . But we certainly will not agree to anything in a consent order that even implies we have any control over what
is in the possession of the FBI.

I look forward to reviewing the draft report.

                                                             1
                Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 57 of 90




Grant Schnell I Holland & Knight
Associate
Holland & Knight LLP
1180 West Peachtree Street I Atlanta, GA 30309
Phone 404.817.8560 I Fax404.881.0470
grant.schnell@hklaw.com I www.hklaw.com

Add to address book   I View professional biography



-----Original Message-----
From: Caldwell, Joe [mailto:jcaldwell@Steptoe.com]
Sent: Friday, November 10, 2017 9:57 AM
To: John Salter <john@barneslawgroup.com>
Cc: Washington, Grace <gwashington@Steptoe.com>; dwhite@hlclaw.com; Kaye.Burwell@fultoncountyga.gov;
benbryan@dekalbcountyga.gov; bryan.ward@holcombward.com; ccorreia@law.ga.gov;
Cheryl.Ringer@fultoncountyga.gov; Schwartz, Edward <eschwartz@steptoe.com>; scott@holcombward.com; Roy
Barnes <roy@barneslawgroup.com>; aaron@holcombward.com; david.lowman@fultoncountyga.gov;
jheidt@law.ga.gov; marvin@holcombward.com; Highsmith, Robert (ATL - X48012) <robert.highsmith@hklaw.com>;
tgphilli@dekalbcountyga.gov; lkjohnson@dekalbcountyga.gov; vernstes@dekalbcountyga.gov; Schnell, Grant E (ATL -
X48560) <Grant.Schnell@hklaw.com>
Subject: RE: 17-0167 Curling, et al v. Kemp, et al: Curling v. Kemp: Draft Preservation Order.docx

John,

While I think the FBI is a necessary recipient of the draft Order, I would not object to clarifying the difference. I think the
Judge may think that is obvious, but I would not object to language saying: "This Order does not presume that
Defendants have vicarious liability for any action taken or not taken by the FBI."

Best,
Joe

Joe Caldwell
Partner
Steptoe & Johnson LLP
202 429 6455




-----Original Message-----
From: Caldwell, Joe
Sent: Friday, November 10, 2017 9:11 AM
To: 'John Salter'
Cc: Washington, Grace; 'dwhite@hlclaw.com'; 'Kaye.Burwell@fultoncountyga.gov'; 'benbryan@dekalbcountyga.gov';
'bryan.ward@holcombward.com'; 'ccorreia@law.ga.gov'; 'Cheryl.Ringer@fultoncountyga.gov'; Schwartz, Edward;
'scott@holcombward.com'; 'Roy Barnes'; 'aaron@holcombward.com'; 'david.lowman@fultoncountyga.gov';


                                                               2
                Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 58 of 90
'jheidt@law.ga.gov'; 'marvin@holcombward.com'; 'robert.highsmith@hklaw.com'; 'tgphilli@dekalbcountyga.gov';
'lkjohnson@dekalbcountyga.gov'; 'vernstes@dekalbcountyga.gov'; 'Grant E Schnell'
Subject: RE: 17-0167 Curling, et al v. Kemp, et al: Curling v. Kemp: Draft Preservation Order.docx

John,

As I understand it, the Judge's intent is to preserve existing evidence. Her concerns are forward-looking at this point,
and are not focused on deciding whether spoliation has occurred in the past. The intent of the draft order was to mirror
that concern. It does not make any determination about whether spoliation has or has not occurred.

If you believe that point needs further clarification, I suggest adding language on the last page of the draft Order, above
the last paragraph, which says: "By this Order, the Court seeks to preserve existing relevant evidence from this date
forward, and does not at this time make any decisions about whether spoliation of evidence may or may not have
occurred in the past."

Let me know if that addresses your concerns.

Thanks,
Joe

Joe Caldwell
Partner
Steptoe & Johnson LLP
202 429 6455




-----Original Message-----
From: Caldwell, Joe
Sent: Thursday, November 09, 2017 7:08 PM
To: 'John Salter'
Cc: Washington, Grace; dwhite@hlclaw.com; Kaye.Burwell@fultoncountyga.gov; benbryan@dekalbcountyga.gov;
bryan.ward@holcombward.com; ccorreia@law.ga.gov; Cheryl.Ringer@fultoncountyga.gov; Schwartz, Edward;
scott@holcombward.com; Roy Barnes; aaron@holcombward.com; david.lowman@fultoncountyga.gov;
jheidt@law.ga.gov; marvin@holcombward.com; robert.highsmith@hklaw.com; tgphilli@dekalbcountyga.gov;
lkjohnson@dekalbcountyga.gov; vernstes@dekalbcountyga.gov; Grant E Schnell
Subject: RE: 17-0167 Curling, et al v. Kemp, et al: Curling v. Kemp: Draft Preservation Order.docx

John,

I don't have that reaction at all. While I think that many of the issues listed below apply more to a spoliation motion, I'm
open to considering any language you might suggest.

My hope is that we can avoid leaving all the work for the Judge, so please send me any language you think suitable .

Thanks, John.

Joe

Joe Caldwell
Partner

                                                             3
               Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 59 of 90
Steptoe & Johnson LLP
202 429 6455




-----Original Message-----
From: John Salter [mailto:john@barneslawgroup.com]
Sent: Thursday, November 09, 2017 6:57 PM
To: Caldwell, Joe
Cc: Washington, Grace; dwhite@hlclaw.com; Kaye.Burwell@fultoncountyga.gov; benbryan@dekalbcountyga.gov;
bryan .ward@holcombward.com; ccorreia@law.ga .gov; Cheryl.Ringer@fultoncountyga .gov; Schwartz, Edward;
scott@holcombward.com; Roy Barnes; aaron@holcombward.com; david.lowman@fultoncountyga.gov;
jheidt@law.ga.gov; marvin@holcombward.com; robert.highsmith@hklaw.com; tgphilli@dekalbcountyga.gov;
lkjohnson@dekalbcountyga.gov; vernstes@dekalbcountyga.gov; Grant E Schnell
Subject: RE: 17-0167 Curling, et al v. Kemp, et al: Curling v. Kemp: Draft Preservation Order.docx

Joe,
After looking over your response, I am reminded of a chicken standing in front of a carving block with the farmer holding
a hatchet and asking the chicken to kindly put his neck on the block. Looks like the only areas we agree are that (a) the
Judge's name on the order should be corrected to spell Totenberg (I presume) and (b) oral argument for Nov. 17 does
not work if your team is unavailable. After discussing with your team, please let me know if Plaintiffs object to us
approaching the Court with a request for other potential dates.
If you think it would be a better use of our time to just follow motion practice so Plaintiffs can argue for whatever you
are after, let me know. Alternatively, we can await written input from others on your draft as originally directed. If so,
when you circulate a draft joint report to the Court, please give us sufficient time (and space) to weigh in. Have a good
weekend.
Cheers,
John

-----Original Message-----
 From: Caldwell, Joe [mailto:jcaldwell@Steptoe.com]
Sent: Thursday, November 09, 2017 5:53 PM
To: John Salter <john@barneslawgroup.com>
Cc: Washington, Grace <gwashington@Steptoe.com>; dwhite@hlclaw.com; Kaye.Burwell@fultoncountyga.gov;
benbryan@dekalbcountyga.gov; bryan.ward@holcombward.com; ccorreia@law.ga .gov;
Cheryl.Ringer@fultoncountyga.gov; Schwartz, Edward <eschwartz@steptoe.com>; scott@holcombward.com; Roy
Barnes <roy@barneslawgroup.com>; aaron@holcombward.com; david.lowman@fultoncountyga.gov;
jheidt@law.ga.gov; marvin@holcombward .com; robert.highsmith@hklaw.com; tgphilli@dekalbcountyga .gov;
lkjohnson@dekalbcountyga.gov; vernstes@dekalbcountyga.gov; Grant E Schnell <Grant.Schnell@hklaw.com>
Subject: RE: 17-0167 Curling, et al v. Kemp, et al: Curling v. Kemp: Draft Preservation Order.docx

Okay, will add him to the chain.

Also, you asked about Ed Schwartz. He is not available for argument on November 17, 2017 .

Best,
Joe

Joe Caldwell
Partner
Steptoe & Johnson LLP

                                                            4
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202 429 6455




-----Original Message-----
From: John Salter [mailto:john@barneslawgroup.com]
Sent: Thursday, November 09, 2017 5:40 PM
To: Caldwell, Joe
Cc: Washington, Grace; dwhite@hlclaw.com; Kaye.Burwell@fultoncountyga.gov; benbryan@dekalbcountyga.gov;
bryan.ward@holcombward.com; ccorreia@law.ga.gov; Cheryl.Ringer@fultoncountyga.gov; Schwartz, Edward;
scott@holcombward.com; Roy Barnes; aaron@holcombward.com; david.lowman@fultoncountyga.gov;
jheidt@law.ga.gov; marvin@holcombward.com; robert.highsmith@hklaw.com; tgphilli@dekalbcountyga.gov;
lkjohnson@dekalbcountyga.gov; vernstes@dekalbcountyga.gov; Grant E Schnell
Subject: Re: 17-0167 Curling, et al v. Kemp, et al: Curling v. Kemp: Draft Preservation Order.docx

Thanks for your comments, Joe. I am copying Grant Schnell because I think he wanted on this chain .
Cheers,
John



Sent from my iPhone

On Nov 9, 2017, at 5:30 PM, Caldwell, Joe <jcaldwell@Steptoe.com<mailto:jcaldwell@Steptoe.com» wrote :

John,

Thank you for your comments. My responses below correspond to your paragraph numbers.

1.     Unfortunately, Plaintiffs cannot agree that the trigger for the duty to preserve evidence is the date of litigation
hold letters. As you know, counsel's duty to ensure that evidence is preserved arises not when a litigation hold letter is
received, but when litigation is filed, threatened or reasonably foreseeable.

2.      The Draft Preservation Order does not state that the State Defendants assume responsibility for evidence in the
possession of the FBI. Here, after data on the CES main and backup servers was erased, the State AG's Office notified
counsel that the FBI had a forensic image of the CES server, and that office intended to serve the attached subpoena on
the FBI for that forensic image. In the State Defendants' Notice of Intent to Serve Subpoena (Oct. 26, 2017), counsel for
the State Defendants said: "Upon taking possession of the drive with the forensic image copied on to it, the drive will be
secured and taken by representatives at the Secretary of State's Office to a secured storage facility at their Office." If
the State Defendants have possession of that, they would certainly be viewed as assuming responsibility for it.
a.      Deleting the FBI from the order might effectively eliminate the possibility of recovering material data related to
the CES server.
b.      Further, as the proposed Preservation Order seeks only preservation rather than sanctions, no need currently
exists to declare that the State Defendants are separate from the FBI.
c.      Plaintiffs ask that you please advise whether the State Defendants currently have in their possession the forensic
image from the FBI sought by their subpoena.
d.      I am happy to provide the FBI a copy of the draft Preservation Order if you would kindly provide the name and
contact information of the FBI Agent with whom the State AG has been communicating.

3.    When you say that preservation obligations must not interfere with the legal duties of State officials, which duties
do you contemplate? If none are known at this point, it seems appropriate that the State Defendants notify Plaintiffs in


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advance of any anticipated need to alter or eliminate evidence. The parties can attempt to agree. Absent agreement
among counsel, the State can apply to the Court for relief.

4.      You have expressed concerns about possible retroactive application of litigation hold letters. Again, I note that
obligations for evidence preservation arise when litigation is filed, threatened or reasonably foreseeable, but certainly
before litigation hold letters are sent. If litigation hold letters in this case were sent in July and September, that appears
to be of little consequence if the CES server was erased on July 7, 2017, four days after the litigation was filed. Indeed,
in Georgia election matters, there are both federal and state statutory preservation obligations. See 52 U.S.C. 20701;
see also GA Code 21-2-500. Once the duty to preserve is triggered, it extends to information that is relevant to claims
and defenses of any party or the subject matter of the litigation.
        a.      Many of the arguments set forth in this paragraph appear to focus on spoliation rather than preservation.
b.      If there is language that you propose for editing the preservation draft, please provide that language so that
Plaintiffs can respond. However, regarding the proposed waiver, I repeat the substance of para. 1 above.

5.       The litigation hold letters identify categories of evidence Plaintiffs expect exist, without knowledge of what
actually does exist. Absent discovery in the case to date, Plaintiffs could not know more. As such, a preservation order
should broadly include actual evidence that Plaintiffs may not currently know exists. For that reason, the attached
litigation hold letters supplement the order rather than to limit it.

6.      Regarding the language you propose, the Plaintiffs have no way of knowing or conforming what responsibilities
are being transferred from CES to SoS. Perhaps you might say instead: "The State Defendants represent that .... " And
after the words "change in custody from CES to SoS" should be inserted, ",without any change or alteration of that
evidence in any manner whatsoever," and then conclude.

I am happy to discuss, John.

Best,
Joe




Joe Caldwell
Partner
Steptoe & Johnson LLP
202 429 6455




From: John Salter [mailto:john@barneslawgroup.com]
Sent: Wednesday, November 08, 2017 2:10 PM
To: Caldwell, Joe
Cc: Washington, Grace; 'dwhite@hlclaw.com<mailto:dwhite@hlclaw.com>';
'Kaye.Burwell@fultoncountyga.gov<mailto:Kaye.Burwell@fultoncountyga.gov>';
'benbryan@dekalbcountyga.gov<mailto:benbryan@dekalbcountyga.gov>';
'bryan.ward@holcombward.com<mailto:bryan.ward@holcombward.com>';
'ccorreia@law.ga.gov<mailto:ccorreia@law.ga.gov>';
'Cheryl.Ringer@fultoncountyga.gov<mailto:Cheryl.Ringer@fultoncountyga.gov>'; Schwartz, Edward;
'scott@holcombward.com<mailto:scott@holcombward.com>'; Roy Barnes;
'aaron@holcombward.com<mailto:aaron@holcombward.com>';
'david.lowman@fultoncountyga.gov<mailto:david.lowman@fultoncountyga.gov>';
'jheidt@law.ga.gov<mailto:jheidt@law.ga.gov>'; 'marvin@holcombward.com<mailto:marvin@holcombward.com>';
'robert.highsmith@hklaw.com<mailto:robert.highsmith@hklaw.com>';

                                                              6
                Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 62 of 90
'tgphilli@dekalbcountyga.gov<mailto:tgphilli@dekalbcountyga.gov>';
'lkjohnson@dekalbcountyga.gov<mailto:lkjohnson@dekalbcountyga.gov>';
'vernstes@dekalbcountyga.gov<mailto:vernstes@dekalbcountyga.gov>';
benbryan@dekalbcountyga.gov<mailto:benbryan@dekalbcountyga.gov>
Subject: RE: 17-0167 Curling, et al v. Kemp, et al: Curling v. Kemp: Draft Preservation Order.docx

Joe,
I've tried to jump on this as soon as I received your draft. Please know these are not my final list of concerns as I have
not had time for my clients' technical folks to make any concerns apparent to me. Further, I have not had time to
consult my co-defendants and any issues that they may be able to call to my attention, especially since Roy and I are so
new to the case. But, in the interests of time, here are my initial reactions to the Draft Order you circulated based on
what I know now.



1)   The State Defendants Agree we are Already Bound by a Duty to Preserve

a) The State Defendants wish to work cooperatively with the Plaintiffs to preserve evidence. The State Defendants are
open to a Draft Order for Preservation of Evidence that reflects the timing of their receipt of Litigation Holds letters at
the time they were received by the respective Defendants and with an appreciation of the material allegations at that
time and as framed by then-operative allegations contained in iterations of the plaintiffs complaints. The State
Defendants acknowledge and accept those duties and have performed them in good faith throughout the Curling
litigation.

2)   The Inclusion of the FBI In Absentia is Problematic

a) The State Defendants neither speak for the FBI, nor control them, nor are we able to bind them to certain
responsibilities or duties under this Draft Preservation Order. I'm not sure it was your intent, but the Draft Order seems
to imply vicarious liability of the State Defendants for any actions of the FBI. In the event any data in possession of the
FBI were not preserved, the State Defendants neither assume responsibility for that, nor believe it would be appropriate
for the Court to expose the State Defendants to sanctions, contempt, or other adverse ruling.

b) Potential Solution: One way to cure this concern would be to simply delete the references to the FBI. Another
alternative would be for the Draft Order to clarify that the State Defendants are separate from the FBI and that the
Order does not subject the State Defendants to any sanctions, contempt or other adverse ruling on account of the
undirected actions of other parties outside the control of the State Defendants.

3)   Safe Harbor for Actions Taken In Furtherance and in Compliance with State Law

a) The State Defendants wish to work cooperatively with the Plaintiffs to preserve evidence. But they also have legal
duties and responsibilities to execute the business of the State, including upcoming and future elections. This necessarily
includes transmitting data to our co-defendants who may need it. You cannot "quarantine the mailman." Obligations of
preservation must not interfere-directly or indirectly-with the legal duties and responsibilities of officials charged with
doing the State's business.

b) Should there be any conflict between duties of preservation arguably imposed by an order and statutory or
constitutional duties the State Defendants are charged with executing, the Draft Order should include some
preservation of their right to assert such compliance as a defense to technical non-compliance with this Order. The
State cannot foresee every eventuality. I am trying to figure a way to draw this out without defeating the Plaintiffs'
legitimate ends of preservation of relevant evidence. I wonder whether you can propose a solution that you may have
already used with the County Defendants. If so, we could discuss or trade drafts of language to try and reach a
reasonable compromise.


                                                             7
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4)   State Defendants Object to Retroactive Litigation Holds ·

a) It is customary and expected that Litigation Holds are only enforced in a prospective, not retrospective,
fashion. Time's arrow flies only in one direction. It is important and only fair that the State Defendants be able to rely
on a Hold Letter that gives fair notice of what is to be preserved in reasonably specific terms. And we cannot enter into
a joint order that could be construed as waiving certain defenses against adverse enforcement based upon untimeliness
or specificity (or lack thereof) in prior Hold Letters. With that concern generally expressed, what follow are some
specific concerns we think the Draft Order does not address sufficiently.

b)   Effective Date of the September 2017 Litigation Hold Letter:

i)    The Litigation Hold Letter dated September 12, 2017, was not delivered to counsel for the State Defendants until
September 29, 2017 (although the face of the document suggests otherwise). The State Defendants wish to preserve
their objection to any sanctions or obligation for preservation arising as to the items listed in the September 12, 2017
Hold Letter until, at least, after they had received notice of same on September 29, 2017. On behalf of the State
Defendants, enforcement of the Draft Order as to the items listed in the September 2017 Litigation Hold Letter should
be limited to time periods after September 2

c)   Retroactivity Concerns Specific to the CES Server and Backup Server Currently Featured in the Draft Order.

i)   The Order's recital on page 2 implicitly approves a retroactive litigation hold by implying that the handling of the
CES server at KSU was not acquiesced in by the Plaintiffs in the Curling litigation. Further, it sets the stage for potential
adverse actions regarding this antecedent issue to be visited only upon, and solely to the prejudice of, the State
Defendants. We therefore object to the inclusion of the second paragraph in the Draft Order in its entirety. Here are
the reasons why:

ii) Months before Plaintiffs filed their original complaint, this was disclosed in a report published by KSU in an "Incident
Report" dated April 18, 2017. This same report was attached by Plaintiffs to their original complaint (filed July 3, 2017).
DE# 1-2 at ,i 16, attaching April 18, 2017 "Incident Report" as Exhibit C to original complaint. Accordingly, Plaintiffs
either knew or, in the exercise of reasonable care, should have known, that the CES server and back-up mentioned in
the Draft Order were planned for repurposing and "surplus" and that, in the ordinary and customary course of business,
that servers containing potentially sensitive data would be wiped clean as a precaution before repurposing or
transitioning them to "surplus."

iii) Because the server and back-up were removed from use in April of 2017, they were not used for either the April,
2017 or June, 2017 special election and run-off, respectively. The aforementioned elections, not the November 2016
election, were the focus of the original and first amended complaints. Only in the Second Amended Complaint did the
scope of plaintiffs' allegations expand to the November, 2016 election, thereby giving fair notice to the State Defendants
that the server and back-up reasonably could be construed as "evidence" subject to any explicit or implicit duty of
preservation. However, by the time the Second Amended Complaint was filed on September 15, 2017, the July and
August actions respecting the server and backup had already transpired.

d)   Prejudice from Retroactivity and Potential Solutions:

i)   Regarding the above concerns, it does not appear the Draft Order takes them into account sufficiently to avoid
prejudice to the State Defendants. For these reasons, the Draft Order in its present form causes more harm in the form
of confusion than it does good by clarifying responsibilities regarding preservation and/or future potential enforcement
by the Court.

ii) Left unaddressed, this confusion could cause unfair prejudice to the State Defendants. Indeed, if the Plaintiffs'
signaled intention of filing a motion for spoliation is any indication, the effect of the Draft Order could be interpreted as
purely opportunistic "clearing of the decks" of the State Defendants' reasonable objections and defenses to any such

                                                              8
                Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 64 of 90
motion that might come in the future from the Plaintiffs. Perhaps this concern might be alleviated by the addition of an
explicit "no waiver" clause preserving Defendants' defenses to any motion for spoliation or enforcement of this Draft
Order in the future. If the Plaintiffs would be amenable to that, please let me know so that we might discuss that
further.

iii) In addition to the above-mentioned issues of unfair retroactivity, this raises an issue of Plaintiffs' timeliness and/or
acquiescence in those actions respective to the server and back-up. Even if only preserving this argument for future
consideration for the Court, any Draft Order should preserve this concern and issue for Defendants against any
argument of waiver or acquiescence, especially given the Draft Order's second paragraph.

iv) At minimum, the Draft Order should explicitly state and preserve the State Defendants' position that the CES server
and back-up that were re purposed in July/August were action-items that were planned and known-or knowable in the
exercise of reasonable care to the public and the Curling Plaintiffs-well in advance of those actions being taken by KSU.

5)   The Expansion of the Scope of the Order from Prior Hold Requests

a) The Draft Order appears to create new and broad categories of "evidence" that the State Defendants would have a
duty of preservation. See, e.g., Draft Order 2 ("data, records, and equipment related to the election infrastructure"). The
language is exceptionally broad. It is also undefined by the Draft Order. This leaves these items open to contentious
interpretation. As a result, predictable and mutually-agreeable construction of the Draft Order is impossible. To be
enforceable, the Draft Order should not be subjective or make it difficult for a party to know with reasonable certainty
the metes and bounds of its duty in order to comply.

b) Possible Solution. While all cases are different, this case is not one where "evidence" has such an obvious and
mutually-agreeable understanding that we know what each other is saying. Indeed, we have moved to dismiss the 2nd
Amended Complaint as a "shotgun" complaint that is, among other concerns, too non-specific to satisfy standing or
plead a viable claim. For the State Defendants, I suggest there is at least one way to solve the scope concern. The Draft
Order could rely on incorporation-by-reference of earlier Hold Letters, according to the times they were received by the
respective party defendants. To cure the vagueness concerns, therefore, we suggest that the scope of the Draft Order
be explicitly defined only to incorporate by reference the Litigation Hold letters and the scope described therein.

6)   Ability to Change Custody

a) In the future, and as publicly disclosed, one of the steps the Sos has planned in order to ensure preservation of
evidence is to clarify and maintain channels of communication regarding some of the issues implicated in this Draft
Order. To that end, and in order to ensure the flexibility to the State Defendants commensurate with performing and
executing their legal duties, we suggest the following be incorporated into the Draft Order: "The parties understand that
certain responsibilities are transferring from CES to Sos. As part of that transition, relevant information may change
custody from CES to SoS and each party agrees that a change in custody of relevant evidence from CES to Sos does not
violate this Order."

Thanks for taking the first cut at a draft. Please let me know your thoughts regarding the above. In the meantime, I will
also try and confer with my co-defense counsel and my technical folks regarding their thoughts and try to bring any
further follow-up within sufficient time to be incorporated into a joint report as required by the Court.

Cheers,
John

[P.S.-you might want to correct a typo. Judge's name is spelled "Toten berg."]

John F. Salter I Attorney at Law
BARNES LAW GROUP, LLC

                                                               9
                Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 65 of 90

31 ATLANTA STREET I MARIETTA, GEORGIA 30060
770 BARNES LAW (227-6375) I 770 BARNES FAX (227-6373)
john@barneslawgroup.com<mailto:jsalter@barneslawgroup.com>

BARNESLAWGROUP.COM<https://urldefense.proofpoint.com/v2/url?u=http-3A_BARNESLAWGROUP.COM&d=DwlF-
g&c=14jPbF-lhWnYXveJSrixtS_Fo3DRrpL7HUwJDAc4Hlc&r=MRC3Pfv79G-
OqKfSZ4mOi3vWdXNmllqSdxuXFmkb0Zl&m=yUzrbukVfkvgSwCjuCzK3o4bqp2CTdrN-
zxUNl86ceU&s=choopCPBPRFwNkTjN4alEeL-gTJloQBzSt-1LlgcNKk&e=>

<image00l.jpg>

From: Washington, Grace [mailto:gwashington@Steptoe.com]
Sent: Wednesday, November 08, 2017 10:33 AM
To: 'dwhite@hlclaw.com<mailto:dwhite@hlclaw.com>' <dwhite@hlclaw.com<mailto:dwhite@hlclaw.com»;
'Kaye.Burwell@fultoncountyga.gov<mailto:Kaye.Burwell@fultoncountyga.gov>'
<Kaye.Burwell@fultoncountyga.gov<mailto:Kaye.Burwell@fultoncountyga.gov»;
'benbryan@dekalbcountyga.gov<mailto:benbryan@dekalbcountyga.gov>'
<benbryan@dekalbcountyga.gov<mailto:benbryan@dekalbcountyga.gov>>;
'bryan.ward@holcombward.com<mailto:bryan.ward@holcombward.com>'
<bryan.ward@holcombward.com<mailto:bryan.ward@holcombward.com»;
'ccorreia@law.ga.gov<mailto:ccorreia@law.ga.gov>' <ccorreia@law.ga.gov<mailto:ccorreia@law.ga.gov»;
'Cheryl.Ringer@fultoncountyga.gov<mailto:Cheryl.Ringer@fultoncountyga.gov>'
<Cheryl.Ringer@fultoncountyga.gov<mailto:Cheryl.Ringer@fultoncountyga.gov»; Schwartz, Edward
<eschwartz@steptoe.com<mailto:eschwartz@steptoe.com>>;
'scott@holcombward.com<mailto:scott@holcombward.com>'
<scott@holcombward.com<mailto:scott@holcombward.com»; Roy Barnes
<roy@barneslawgroup.com<mailto:roy@barneslawgroup.com»;
'aaron@holcombward.com<mailto:aaron@holcombward.com>'
<aaron@holcombward.com<mailto:aaron@holcombward.com»;
'david.lowman@fultoncountyga.gov<mailto:david.lowman@fultoncountyga.gov>'
<david.lowman@fultoncountyga.gov<mailto:david.lowman@fultoncountyga.gov>>;
'jheidt@law.ga.gov<mailto:jheidt@law.ga.gov>' <jheidt@law.ga.gov<mailto:jheidt@law.ga.gov»; John Salter
<john@barneslawgroup.com<mailto:john@barneslawgroup.com»;
'marvin@holcombward.com<mailto:marvin@holcombward.com>'
<marvin@holcombward.com<mailto:marvin@holcombward.com»;
'robert.highsmith@hklaw.com<mailto:robert.highsmith@hklaw.com>'
<robert.highsmith@hklaw.com<mailto:robert.highsmith@hklaw.com>>;
'tgphilli@dekalbcountyga.gov<mailto:tgphilli@dekalbcountyga.gov>'
<tgphilli@dekalbcountyga.gov<mailto:tgphilli@dekalbcountyga.gov»;
'lkjohnson@dekalbcountyga.gov<mailto:lkjohnson@dekalbcountyga.gov>'
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'vernstes@dekalbcountyga.gov<mailto:vernstes@dekalbcountyga.gov>'
<vernstes@dekalbcountyga.gov<mailto:vernstes@dekalbcountyga.gov»;
benbryan@dekalbcountyga.gov<mailto:benbryan@dekalbcountyga.gov>
Cc: Caldwell, Joe <jcaldwell@Steptoe.com<mailto:jcaldwell@Steptoe.com»
Subject: 17-0167 Curling, et al v. Kemp, et al: Curling v. Kemp: Draft Preservation Order.docx

On behalf of Joe Caldwell :

Counsel,


                                                       10
                  Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 66 of 90
Attached, in accordance with the Judge's instructions on the conference call yesterday, see Dkt. No. 105, is a proposed
Preservation Order for counsel's consideration. If you have edits, I ask that you circulate them in writing via e-mail,
which may be followed by telephone calls, as necessary. By the end of the week, I will circulate for comments a draft
Joint Report of the Parties Concerning Preservation of Evidence toward the goal of filing that Report on Monday,
November 13, 2017, as directed.

Thank you .



Joe Robert Caldwell, Jr
Partner
jca ldwe Il@Ste ptoe .com<ma i Ito :jca ldwel l@Ste ptoe .com>
+1 202 429 6455 direct I +1 202 429 3902 fax
Steptoe
Steptoe & Johnson LLP
1330 Connecticut Avenue, NW I Washington, DC 20036
www.steptoe.com<https://urldefense.proofpoint.com/v2/url?u=http-3A_www.steptoe.com&d=DwlF-g&c=14jPbF-
1hWnYXveJ5rixtS_Fo3DRrpL7HUwJDAc4Hlc&r=MRC3Pfv79G-
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zxUNl86ceU&s=FrB97IDA5cOd5xja6x6IPz4m5ffS44ZaUYM4FdY_7tQ&e=>



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                                                                        11
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                Correia Declaration
                        Exhibit 10
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Cristina Correia

From:                         Jeff Milsteen <jmilstee@kennesaw.edu>
Sent:                         Friday, October 20, 2017 10:16 AM
To:                           marilyn
Cc:                           asklegal; Cristina Correia
Subject:                      Fw: ORR for data retrieval from elections.kennesaw.edu
Attachments:                  ORR 1of310.18.17.pdf; ORR 2 of 3 10.18.17.pdf; ORR 3 of 3 10.18.17.pdf

Importance:                   High



Ms. Marks,

Attached please find the records responsive to your open records request. All records have been produced
except documents that would be exempt pursuant to OCGA 50-18-72(a)(41), which excepts privileged
attorney-client communications from the disclosure requirements of the Open Records Act. To be clear, the
record that has been withheld involves communications between the Office of the Attorney General and
employees of Kennesaw State University, and not internally between the Legal Affairs Division and employees
of the Center for Elections Systems or U ITS.

Sincerely,

Jeff Milsteen
Chief Legal Affairs Officer
Kennesaw State University




                                                      1
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 From:              S~ohen Craig Gay
 To:                Lectra Lawhorne
 Subject:           CES   Investigative update
 Date:              Friday, March 17, 2017 5: 11:58 PM



Lectra,

Good afternoon. I wanted to take a moment and provide you with an update on the Center for Election Systems
Incident Response process:

- We met with CES Staff today to review the architecture of their internal network, review physical access controls,
and understand the services running on the internal network. We validated that an air gap exists between the internal
and external network and further validated via arp tables that no routes were available from the intranet servers to an
external network. Several opportunities for improvement were identified and CES staff are working on
documentation for the system. An executive summary with recommendations is forthcoming

- All external-facing servers associated with the Center are isolated to elections.kennesaw.edu which is hosted in the
Enterprise instance ofOmniUpdate and contains only public information.

- UITS WinServ, in partnership with the ISO and CES, is provisioning a dedicated Virtual Server which will be used
for internal file storage for CES. The server will be locked down via AD group memberships and will use verbose
logging and monitoring tied to our splunk instance. The logs will specifically audit for file access and alert on any
modifications to the authorizing AD group. Furthermore a local firewall will be in place and all traffic outside the
CES IP range blocked.

- I met with FBI Agent Ware at 4:30pm to receive the elections server - Dell PowerEdge R610 Tag Number
96J2F2 l. The ISO team will be performing a data recovery for data requested by the CES (Business Operations) on
Monday. We have confirmed that the FBI is maintaining a forensic image and changes to the server can occur.
Agent Ware shared that "the investigation is wrapping up" and mentioned being in attendance at the March 29th
meeting with AUSA Grimberg.

Please let me know if you have any questions or ifl can provide any additional information.

In service,

Stephen C Gay CISSP CISA
KSU Chief Information Security Officer & UITS Executive Director
Information Security Office
University Information Technology Services (UITS)
Kennesaw State University
Technology Services Bldg, Room 031
1075 Canton Pl, MB #3503
Kennesaw, GA 30144
Phone: (470) 578-6620
Fax: (470) 578-9050
sgay@kennesaw.edu
              Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 70 of 90



Milestone                                         Due Date Status         lead        Notes
Private Network Assessment Meeting                   26-Jun Complete      S. Gay
Spec UPS                                             13-Jul Complete      C. Dehner
Order UPS                                            13-Jul Complete      C. Dehner
DBAN R610 Hard Drives                                 7-Jul Complete      C. Dehner
Deliver R610 to Networking                            7-Jul Complete      C. Dehner
Image Dell PowerEdge R630s (101614 & 101613)         26-Jul Complete      C. Darrow
Rack Dell PowerEdge R630 and migrate DC and NAS      28-Jul In progress   C. Darrow
Install UPS                                          4-Aug Complete       C. Darrow Due data dependant on delivery of UPS from CDW-G.
                                      Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 71 of 90



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  Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 72 of 90




From:           ChristoplJer Dehner
To:             Steven Dean: Jason Figueroa
Cc:             MJchaef aames; Stephen Gay
Subject:        CES server surplus
Date:           Wednesday, August 9, 2017 11:24:58 AM


Fellas,

I will arrive at the center around 1:30 today to pick up the old DC. I will also get the old
unicoi server from secure storage. Additionally, I sent in a service ticket for this request.

Regards,

Chris

Get Outlook for Android
           Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 73 of 90




 Michael Barnes

From:                            Steven Jay Dean
Sent:                            Wednesday, April 26, 2017 3:18 PM
To:                              Christopher Michael Dehner
Cc:                              Merle Steven King; Michael L. Barnes; Jason Stephen Figueroa
Subject:                         Private Network Hardware Assessment



Chris, we recently receive a draft of the fncident report and f would like to go through the hardware section to
get a plan outlined for addressing the recommendations. The document states the following:

I.    Rackmount UPS Battery backups (one displaying warning light)
        Recommendation: Replace batteries as needed and move under UfTS fSS management
2. 3com Switches -Age I 0+ years -- No Support -- L2 only
        Recommendation: Replace and move under UITS ISS management
3. Dell 1950 (Windows Domain Controller) - Age 10+ years
        Recommendation: Surplus
4. Dell PowerEdge R630 - Age I year
        Recommendation: Migrate services from Dell 1950 and move under UITS ISS management on CES
Isolated Network
5. EPIC - Vision Computer-Age Unknown - Electors list creation box
        Recommendation: Continue as ISO/CES managed
6. EPfC Files - Dell 1900 - Age 6+ years - Electors list creation box backups
        Recommendation: Surplus
7. NAS - Dell 1900 - Age 6+ years - CES Isolated Network NAS
        Recommendation: Surplus
8. elections.kennesaw.ed u - Age 5 years - Dell PowerEdge R.610
        Recommendation: Format and reinstall on CES Isolated Network as NAS
9. unicoi.kennesaw.edu - Age 6+ years. Dell PowerEdge 1950
        Recommendation: Surplus
I 0. Web server backup
        Recommendation: Surplus


We had submitted for approval to UlTS the purchase of two new UPS units prior to the incident. Should we
continue and order these as previously planned?
Will new hardware (and other equipment) be ordered by ISO under ISO budget, ordered by ISO under CES
budget, or ordered by CES? Who will decide what hardware is purchased?
How should we proceed with replacing the Switches and who will install and manage them?
When will the assessment of the private network software commence and what department will handle the
migrations and updates? How will this project factor into their schedule?

We would like to get moving on this list as soon as possible. Please let me know what I can do as the next step.
Thanks.

Steven Dean
Technical Coordinator
KSU Center for Election Systems
3205 Campus Loop Road
                                                         1
         Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 74 of 90



Kennesaw, GA 30144
P: 470-578-6900 F: 470-578-9012




                                        2
     Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 75 of 90




    From: Christopher Michael Dehner
Sent: Tuesday, June 27, 2017 5:22 PM
To: Stephen Craig Gay; Nickolaus E Hassis; Jason Stephen Figueroa; Steven Jay Dean; Michael L.
    Barnes; Davide F Gaetano
Subject: CES Network Assessment Meeting Notes 6/26

CES Network Assessment
6/27/17 4:00PM-5:lSPM
Attendees:
Nick Hassis, Stephen Gay, Jason Figuero, Steven Dean, Michael Barns, Davide Gaetano


Notes:


CES - is most secure network at KSU, making it more secure
9/10 AAR items closed - Final item: Private Network Inventory

Goal: Reduce number of devices on private network


IMI Card Duplicators also act as data extractor to private network NAS


Reconciled Windows XP devices not captured by network scan


GEMS services dependent on .NET version found on WinXP


Davide-Can GEMS services be virtualized to work on Win7 or WinlO?
Steven - Not certain


Stephen: Can we use local authentication instead of domain controller?
Davide: Put domain controllers on Epic and NA


Cellular dialer to send syslog, environment, arpwatch alerts & GPS updates for time keeping.
New Epic and New NAS servicers will also be domain controllers
Cycle hard drive backups to fireproof safe in Secure Storage


Davide suggestions:
•      Physically label computers if on private network
       Add distance between private and public network devices
       Replace wifi access point, create new ssid for only CES
       Arpwatch box for public and private networks to prevent network crossovers
       Put CES behind a firewall - force denial and whitelist


Action Items :


CES IT
       Confirm printer has unnecessary services disabled
       Work with vendor on upgrading Epic to more current version of Windows Server


UITS
       Build new XP image
       Windows 10 build for audio box
    Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 76 of 90




      Migrate data from Poweredge 1900 to Server TBD and decomm ission box
     Spin up new servers
•    Collaborate with CES on transferring services to new servers
•    Chris: Connect with Jonathan on new APCs
     Chris: Wipe R610 server, deliver to Davide & Casey for install
•    Chris Schedule update meetings for CES Network Updates (include Casey, Jonathan, and GJ)




Christopher Dehner, CISA
IT Security Professional Ill
Information Security Office
University Information Technology Services (UITS)
Kennesaw State University
Technology Services Bldg, Room 027
1075 Canton Pl, MB #3503
Kennesaw, GA 30144
Phone: 470-578-6620
Fax: 470-578-9050
cmd9090@kennesaw edu
   Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 77 of 90




 From:             Cbdstopher Dehner
 TO!               Stephen Gay
 Cc:               Michael Barnes; Steven Dean: Jason Flgueroa
 Subject:          Re: CES server surplus
 Date:             Wednesday, August 9, 2017 3:54:39 PM


Stephen,


I'm happy to report that the remaining two servers on the AAR were delivered to ITIM and the
hard drives were degaussed three times. Additionally, I followed up with Jonathan on
replacing the old UPSs with the new ones.


Regards,


Chris




From: Stephen Gay
Sent: Wednesday, August 91 2017 11:32 AM
To: Christopher Dehner; Steven Dean; Jason Figueroa
Cc: Michael Barnes; Lectra Lawhorne
Subject: Re: CES server surplus


Chris,


This is fantastic news. Great work to all parties on closing the final recommendation from the
incident after action report.


In your service,
Stephen.


Sent from Nine

From: Christopher Dehner
Sent: Aug 9, 2017 11:24 AM
To: Steven Dean; Jason Figueroa
Cc: Michael Barnes; Stephen Gay
Subject: CES server surplus


Fellas,

I will arrive at the center around 1:30 today to pick up the old DC. I will also get the old
unicoi server from secure storage. Additionally, I sent in a service ticket for this request.

Regards,
 Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 78 of 90




Chris

Get Outlook tor Android
   Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 79 of 90




 From:              Ware, William D. II (AT) (FBI)
 To:                Steonen Cralo Gav
 Subject:           RE: Request for data retrieval
 Date:              Thursday, March 16, 2017 7:44: 15 PM


How about a little after 4 pm?




-------- Original message --------
From: "Stephen C. Gay" <sgay@kennesaw.edu>
Date: 03/16/2017 3:15 PM (GMT-05:00)
To: "Ware, William D. II (AT) (FBI)" <William.Ware@ic.fbi.gov>
Subject: Re: Request for data retrieval

Agent Ware,

Thank you for the response. I'm open 12:30pm - I :30pm, 2:30pm - 3 :00pm, and after 4pm if any of those work for
you?

Stephen
----- Original Message -----
From: "Ware, William D. II (AT) (FBI)" <William.Ware@ic.fbi.gov>
To: "Stephen C Gay" <sgay@kcnnesaw.edu>
Sent: Thursday, March 16, 2017 12:00:13 PM
Subject: RE: Request for data retrieval

Hi Stephen,

We have a forensic image of the server so we can just give you the server back so you guys can do what you want.
Are you around tomorrow so l can bring it back?

Davey




-------- Original message --------
From: "Stephen C. Gay" <sgay@kennesaw.edu>
Date: 03/15/2017 1:51 PM (GMT-05:00)
To: "Ware, William D. II (AT) (FBI)" <William.Ware@ic.tbi.gov>
Subject: Fwd: Request for data retrieval

Agent Ware,

We received the request below from the Center for Election Systems regarding data contained on the seized server
which they do not have a backup of. What is the possibility of having the data extracted and us picking il up?

Thank you for your consideration of this request.
Stephen
  Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 80 of 90




----- Forwarded Message-----
From: "Michael Barnes" <mbarne28@kennesaw.edu>
To: "Stephen C Gay" <sgay@kennesaw.edu>
Cc: "Steven Dean" <sdean29@kennesaw.edu>, "Merle King" <mking@kennesaw.edu>
Sent: Wednesday, March 15, 2017 1:41 :25 PM
Subject: Request for data retrieval

Stephen,




As discussed earlier today, we would like to retrieve certain records from
elections.kennesaw.edu that support our daily office activities, items
such as inventory records, workflow databases used during our ballot
building efforts, and operation manuals. These data are located in the
cesuser user directory at /home/cesuser. We would like to retrieve the
entire cesuser directory, if possible.




Thanks,




Michael Barnes
Director
Center for Election Systems
Kennesaw State University
3205 Campus Loop Road
Kennesaw, GA 30144
ph: 470-KSu-6900
fax: 470-KSU-9012
   Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 81 of 90




 From:               Ware, William D. II (AD (FBI)
 To:                 steohen Craig Gay
 Subject:           RE: Request for data retrieval
 Date:              Thursday, March 16, 2017 12:00:23 PM




Hi Stephen,

We have a forensic image of the server so we can just give you the server back so you guys
can do what you want. Are you around tomorrow so I can bring it back?

Davey




-------- Original message --------
From: "Stephen C. Gay" <sgay@kennesaw.edu>
Date: 03/15/2017 1:51 PM (GMT-05:00)
To: "Ware, William D. II (AT) (FBI)" <William.Ware@ic.fbi.gov>
Subject: Fwd: Request for data retrieval

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Stephen

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To: "Stephen C Gay" <sgay@kennesaw.edu>
Cc: "Steven Dean" <sdean29@kennesaw.edu>, "Merle King" <mking@kennesaw.edu>
Sent: Wednesday, March 15, 2017 1:41:25 PM
Subject: Request for data retrieval

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such as inventory records, workflow databases used during our ballot
building.efforts, and operation manuals. These data are located in the
cesuser user directory at /home/cesuser. We would like to retrieve the
entire cesuser directory, if possible.




Thanks;
  Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 82 of 90




Michael Barnes
Director
Center for Election Systems
Kennesaw State University
3205 Campus Loop Road
Kennesaw, GA 30144
ph: 470-KSU-6900
fax: 470-KSU-9012
  Case 1:17-cv-02989-AT Document 558-5 Filed 07/30/19 Page 83 of 90




 From:              Stephen Craig Gay
To:                 mbeaver@sos aa gov
Cc:                 Leet@ Lawhorne; Mlchai;I L Sames
Subject:            Plan of action for the passing of data
Date:               Wednesday, March 22, 2017 6:25:02 PM



Merritt,

Thank you for the conversation regarding the ExpressPoll file pickup and discussion on getting the processed data
back to your office. Looking over my notes, l have the following plan of action from our discussion:

Objective: KSU will use the Secretary of State SFTP server to upload the data moving forward, after which
members of your team will coordinate the distribution to the counties which require the data.

Tasks:
- Remove all users/rights with the current KSU folder on the Secretary of State SFTP Server and provision new
accounts for specified users (Likely SDean, MFiguero, CDehner)
- Work with Chris Dehner, in the UlTS Information Security Office, to share and validate SFTP certificate for
server.
- Work with Chris Dehner and members of CES to develop process for file transfer, account password expiration,
and archiving of file and associated password sharing
- Chris Dehner will work with Steven and Jason on selecting the archive software client, SFTP client and validating
the functionality
- Test the clients and processes, and resolve any challenges.

If you could send me the contact information for James and Stephen on your team I will share with the team and ask
that they connect 1st thing tomorrow. I don't want to be a roadblock to these tasks and progress, but will check-in on
the progress and will be available to assist as needed.

Stephen C Gay CISSP CISA
KSU Chief Information Security Officer & UITS Executive Director
lnformation Security Office
University Information Technology Services (UITS)
Kennesaw State University
Technology Services Bldg, Room 031
1075 Canton Pl, MB #3503
Kennesaw, GA 30144
Phone: (470) 578-6620
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sgay@kennesaw.edu
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 From:               Beaver, Merritt
 To:                Steoheo Craig Gay: Koonce. Steven; Oliver. James
 Cc:                Lectra Lawhorne; Michael L. Sames
 Subject:           RE: Plan of action for the passing of data
 Date:              Thursday, March 23, 2017 10:24:00 AM



 Stephen

I would like to tie in both Steven Koonce, one of our Network administrators and James Oliver, our security
manager. Sec their emails attached.

I talked with my team and our election's team and we would like to just create a new set of SFTP folders for this
effort. The old folder was set up the exchange sample ballot forms and we would like to not repurpose that folder for
this new use. There will be a need for KSU to upload files to SOS and also for SOS to send files to KSU. We are
suggesting that we have two folders to serve each of these purposes. Both of these folders will only hold data for 30
days and after that time any files left will be automatically deleted as these will be transfer folders only.

I will let Steven and James work with your team to best set this environment up.

Thanks

Merritt

S. Merritt Beaver
Chief Information Officer
Office of Georgia Secretary of State Brian P. Kemp
Office (404) 656-7744 Mobile: (770)330-0016
mbeaver@sos.ga.gov

-----Original Message-----
From: Stephen C. Gay froaiho ·sgav@kenncsaw edu]
Sent: Wednesday, March 22, 2017 6:25 PM
To: Beaver, Merritt <mbeaver@sos.ga.gov>
Cc: Lectra Lawhorne <llawhorn@kennesaw.edu>; Michael Barnes <mbarne28@kennesaw.edu>
Subject: Plan of action for the passing of data

Merritt,

Thank you for the conversation regarding the ExpressPoll file pickup and discussion on getting the processed data
back to your office. Looking over my notes, I have the following plan of action from our discussion:

Objective: KSU will use the Secretary of State SFTP server to upload the data moving forward, after which
members of your team will coordinate the distribution to the counties which require the data.

Tasks:
- Remove all users/rights with the current KSU folder on the Secretary of State SFTP Server and provision new
accounts for specified users (Likely SDean, MFiguero, CDehner)
- Work with Chris Dehner, in the UITS Information Security Office, to share and validate SFTP certificate for
server.
- Work with Chris Dehner and members ofCES to develop process for file transfer, account password expiration,
and archiving of file and associated password sharing
- Chris Dehner will work with Steven and Jason on selecting the archive software client, SFTP client and validating
the functionality
- Test the clients and processes, and resolve any challenges.
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If you could send me the contact infonnation for James and Stephen on your team I will share with the team and ask
that they connect 1st thing tomorrow. I don't want to be a roadblock to these tasks and progress, but will check-in on
the progress and will be available to assist as needed.

Stephen C Gay CISSP CISA
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 From:           Christopher Dehner
 To:             DaYide Gaetano
 Cc:             Casey Darrow; Stephen Gay: Chris Gaddis
 Subject:        RE: CES Network Assessment Meeting Notes 6/26
 Date:           Wednesday, July 19, 2017 1:29:00 PM
Attachments:     CES Network surplus mllestones xlsx

Davide,


I think we're ready to make the final push on closing the CES AAR recommendations. All we have left
is the imaging and transference of services of the two Dell PowerEdge R630s {both in CES private
network data center) and the replacement of the UPSs. Per our conversations, one server is for
DC/NAS and the other for Epic. I checked with Steven Dean and both servers not running any
services so we can begin as soon as possible without impacting their services. The UPSs were
ordered last week and we are waiting on delivery. I've included the project milestones and
suggested due dates. If these due dates are not feasible, please provide alternative dates. If you
have any questions, please feel free to reach out.


Regards,


Chris



From: Christopher Michael Dehner
Sent: Friday, July 7, 2017 11:16 AM
To: Davide Gaetano <dgaetano@students.kennesaw.edu>
Cc: Casey Darrow <cdarrow@kennesaw.edu>; Stephen Craig Gay <sgay@kennesaw.edu>; James
Christopher Gaddis <jgaddis6@kennesaw.edu>
Subject: Fw: CES Network Assessment Meeting Notes 6/26


Davide,


I am reseeding this email because for some reason, it was sent to a
dgaetano@students.kennesaw.edu account.


Per your instructions regarding the reimaging and installation of the CES server, we DBAN'd
the hard drives and delivered the server to TS023. The server is a Dell PowerEdge R610 (Asset
Tag: 103019). When it is ready for racking in the CES private network, please let me know and
I'll coordinate with the Steven Dean.


Regards,


Chris
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From:               Stephen Craig Gav
To:                 Lectra Lawhorne
Subject:            CES Investigative update
Date:               Friday, March 17, 2017 5:11:58 PM



Lectra,

Good afternoon. I wanted to take a moment and provide you with an update on the Center for Election Systems
Incident Response process:

- We met with CES Staff today to review the architecture of their internal network, review physical access controls,
and understand the services running on the internal network. We validated that an air gap exists between the internal
and external network and further validated via arp tables that no routes were available from the intranet servers to an
external network. Several opportunities for improvement were identified and CES staff are working on
documentation for the system. An executive summary with recommendations is forthcoming

- All external-facing servers associated with the Center are isolated to elections.kennesaw.edu which is hosted in the
Enterprise instance ofOmniUpdate and contains only public information.

- UITS WinServ, in partnership with the ISO and CES, is provisioning a dedicated Virtual Server which will be used
for internal file storage for CES. The server will be locked down via AD group memberships and will use verbose
logging and monitoring tied to our splunk instance. The logs will specifically audit for file access and alert on any
modifications to the authorizing AD group. Furthermore a local firewall will be in place and all traffic outside the
CES IP range blocked.

- I met with FBI Agent Ware at 4:30pm to receive the elections server - Dell PowerEdge R610 Tag Number
96J2F21. The ISO team will be performing a data recovery for data requested by the CES (Business Operations) on
Monday. We have confirmed that the FBI is maintaining a forensic image and changes to the server can occur.
Agent Ware shared that "the investigation is wrapping up" and mentioned being in attendance at the March 29th
meeting with AUSA Grimberg.

Please let me know if you have any questions or ifl can provide any additional information.

In service,

Stephen C Gay CTSSP CISA
KSU Chieflnformation Security Officer & UITS Executive Director
Information Security Office
University Information Technology Services (UITS)
Kennesaw State University
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Milestone                                         Due Date Status         lead        Notes
Private Network Assessment Meeting                   26-Jun Complete      S.Gay
Spec UPS                                             13-Jul Complete      C Dehner
Order UPS                                            13-Jul Complete      C. Dehner
DBAN R610 Hard Drives                                 7-Jul Complete      C. Dehner
Deliver R610 to Networking                            7-Jul Complete      C. Dehner
Image Dell PowerEdge R630s (101614 & 101613)         26-Jul Complete      C. Darrow
Rack Dell PowerEdge R630 and migrate DC and NAS      28-Jul In progress   C. Darrow
Install UPS                                          4-Aug Complete       C. Darrow Due data dependant on delivery of UPS from CDW-G.
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  From:    Christopher Dehner cmd9090@:·kennesa111.edu
Subject:   Re: CES server surplus
  Date:    August 9, 2017 at 3:54 PM
    To:    Stephen Gay sgay@f;ennesaw edu
    Cc:    Michael Barnes mbarne28@kennesaw.edu, Steven Dean sdean29@kennesaw edu, Jason Figueroa jfigue12@kennesaw edu


       Stephen,

       I'm happy to report that the remaining two servers on the AAR were delivered to ITIM and
       the hard drives were degaussed three times. Additionally, I followed up with Jonathan on
       replacing the old UPSs with the new ones.

       Regards,

       Chris




      From: Stephen Gay
      Sent: Wednesday, August 91 2017 11:32 AM
      To: Christopher Dehner; Steven Dean; Jason Figueroa
      Cc: Michael Barnes; Lectra Lawhorne
      Subject: Re: CES server surplus
                        ~




       Chris,

      This is fantastic news. Great work to all parties on closing the final recommendation from
      the incident after action report.

      In your service,
      Stephen.

      Sent from Nine

      From: Christopher Dehner
      Sent: Aug 9, 2017 11:24 AM
      To: Steven Dean; Jason Figueroa
      Cc: Michael Barnes; Stephen Gay
      Subject: CES server surplus

      Fellas,

      I will arrive at the center around 1 :30 today to pick up the old DC. I will also get the old
      unicoi server from secure storage. Additionally, I sent in a service ticket for this request.

      Regards,

      r.hric
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